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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                         Plaintiff,

              v.                             Civil Action No. 1:20-cv-03590 (JEB)

                                              PUBLIC RECORD VERSION
META PLATFORMS, INC.

                         Defendant.




 Plaintiff Federal Trade Commission’s Updated Memorandum of Law in Opposition to
  Defendant Meta Platforms, Inc.’s Motion for Summary Judgment and in Support of
                Plaintiff’s Cross-Motion for Partial Summary Judgment
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       Meta seeks to avoid a trial, insisting that no reasonable factfinder could return a liability

verdict. In doing so, Meta asks the Court to ignore voluminous evidence, much of it from Meta

itself, showing: (1) Facebook has always served a demand for friends and family sharing and has

“always put friends and family at the core of the experience”; (2) Instagram “immediately”

offered users a social graph to “share their daily lives” “primarily with their friends and family”

and thus created a “parallel network”; (3) Instagram grew rapidly into a “mega-network”

comprising 30+ million users when the acquisition was announced and 100+ million when it

closed; (4) Meta knew the growth of Instagram’s parallel network meant “some people might

just share on Instagram now” and stop sharing on Facebook; (5) Instagram, mere days prior to

the acquisition, turbocharged its growth by launching on Android phones and also received $50

million in funding to “build an army” of engineers; and (6) Meta acquired Instagram to

“neutralize” a threat. See FTC Rule 7(h) Counterstatement (hereinafter “CS”) ¶¶ 1112(c),

1595(b)-(c), 1635(d), 1652(a)-(b), 1616, 1635(c), 2019(e), 1613, 1622, 1694.

       Shifting focus to WhatsApp—just as Meta did immediately after eliminating the threat of

Instagram—Meta asks the Court to ignore evidence that: (1) WhatsApp offered a mobile

messaging service far superior to Meta’s Facebook Messenger; (2) leading apps in Asia had used

mobile messaging “as a springboard to build more general mobile social networks” and were

threatening Facebook in various countries in that region; (3) WhatsApp likewise had “the

opportunity to build out a social platform either as a standalone company or via acquisition by an

existing social player,” and was well positioned to do so in the United States; (4) Meta

executives were “all terrified” of this result; (5) other established firms were interested in

acquiring WhatsApp, including                                                                    and

another that Meta feared would be able to                                                   after



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acquiring WhatsApp; and (6) Mark Zuckerberg resolved to “use M&A to build a competitive

moat,” and Meta did so by vastly overpaying to acquire WhatsApp and then sacrificing huge

sums each year for the past decade in order to maintain its “moat.” See CS ¶¶ 1737(b), 1799(a),

1801, 1794(a), 1740-77, 1802(e), 1813, 1819, 1885, 1837-46, 1783, 909(a)-(b), 1889.

       And Meta asks the Court to ignore the FTC’s well-qualified experts from multiple

disciplines establishing that: (1) personal social networking services (“PSNS” or “PSN services”)

represent a distinct market; (2) Meta exercises monopoly power within the PSN services market;

and (3) Meta cannot show that its acquisitions were necessary to improve the acquired firms’

growth, infrastructure, advertising, or integrity outcomes—and indeed, the acquisitions harmed

consumers by increasing quality-adjusted price (including by harming integrity) and

undermining the acquired firms’ innovation and growth. Infra §§ I, II.C.2, III.

       Finally, Meta asks the Court to ignore extensive evidence of post-acquisition harm and

degradations in multiple dimensions of product quality, while Meta reaps enormous profits.

Infra §§ I.D, II.C.2. Meta’s legally baseless request for a “presumption” cannot blind the Court

to such evidence: this evidence of harm was not available during the FTC’s initial investigation

of the Instagram transaction—narrowly limited in scope at Meta’s request—or the WhatsApp

transaction, just like information Meta had in its files and did not provide. Infra § II.D.

       Meta would have the Court ignore all the foregoing and credit its own experts’

analyses—which are irredeemably flawed, infra § I.B.5—and other unimportant evidence. But

disputes about the weight given evidence are resolved in trials. Meta cannot avoid a trial in light

of extensive evidence indicating that Meta exercises monopoly power and that its acquisitions

harm the competitive process. Infra §§ I-II. The FTC respectfully asks the Court to deny Meta’s

motion for summary judgment, and also to grant the FTC’s cross-motion for partial summary



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judgment and dismiss Meta’s asserted procompetitive justifications. See infra § III.

                                      LEGAL STANDARD

       The FTC’s Section 2 cause of action has two elements—monopoly power and

exclusionary conduct. United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966); United

States v. Microsoft Corp., 253 F.3d 34, 58-59 (D.C. Cir. 2001). Summary judgment is

appropriate on either element only if the movant shows no reasonable factfinder could return a

verdict for the non-movant because there is no genuine dispute over a “material” fact, drawing

all reasonable inferences in the non-movant’s favor. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248, 255 (1986); Holcomb v. Powell, 433 F.3d 889, 895 (D.C. Cir. 2006) (citation omitted)

(defining “material” fact); Fed. R. Civ. P. 56.

                                          ARGUMENT

I.     Meta Has Monopoly Power Over PSN Services in the United States

       Monopoly power entails “the power to control prices or exclude competition.” United

States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 391 (1956). Monopoly power can be

established either through direct evidence that a firm can profitably raise price or exclude

competition, or through indirect evidence of “a firm’s possession of a dominant share of a

relevant market that is protected by entry barriers.” Microsoft, 253 F.3d at 51. Here, extensive

evidence provides both direct and indirect proof of Meta’s monopoly power.

       A. PSN Services Are a Distinct Product Offering with Distinct Consumer Demand

       The relevant market for assessing Meta’s conduct is the provision of PSN services in the

United States. SAC ¶ 165. PSN services serve a distinct type of consumer demand for

connecting and maintaining relationships with friends, family, and other personal connections

online in a shared social space (for brevity, “friends and family sharing”). CS § II.A.2. The



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competitors in this market are the apps (“PSN apps”) 1 that provide PSNS. CS § II.A.3.
                                                     0F




                1. Evidence Shows a Distinct Consumer Demand for Friends and Family
                   Sharing, Which Is a Core Use Case of Facebook and Instagram

       Meta and other online service providers recognize that while multiple online apps are

available, consumers “hire” different apps to serve different “jobs” and different “use cases.” CS

§ II.A.1. They also recognize a distinct consumer demand for the use case of friends and family

sharing. CS § II.A.2; see also FTC v. PPG Indus., Inc., 798 F.2d 1500, 1504 (D.C. Cir. 1986)

(affirming lower court’s definition of relevant market where it was “based on both buyers’ and

sellers’ perceptions of the relevant market”).

       Facebook and Instagram serve this demand. CS §§ II.A.3.b-c; II.A.4.a.1-2. Throughout

its existence, Facebook’s “foundational use case” has been “connecting with friends and family

and sharing moments of your life with them”; and in Mr. Zuckerberg’s words “we’ve always put

friends and family at the core of the experience.” CS ¶¶ 1016(c), 1112(c); see CS § II.A.4.a.1.

Likewise, Instagram at its launch and since has had a core use case of connecting with friends

and family. CS § II.A.4.a.2. Neither Meta nor its experts dispute that friends and family sharing

has been, and remains, a core use of Facebook and Instagram. CS ¶¶ 1057, 1059, 1060-61, 1324.

       Other firms also recognize that a demand exists for this use case. Friendster and

Myspace were early examples. CS § II.A.3.a. Likewise, Alphabet launched Google+ (now

defunct)

despite already operating YouTube, which hosts user-generated content but has a distinctly

different design and purpose focused on serving demand for consumption of entertaining video.

CS ¶¶ 1018(a), 1175-1180; see CS §§ II.A.3.d.1, II.A.5.b.1. Similarly, Path (now defunct)

                                                               by creating “an intimate space for


       1
           “PSN apps” refers to both websites and mobile applications. See PX9000 ¶ 202.
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sharing with [c]lose [f]riends.” CS ¶¶ 1018(b), 1043(b); see CS § II.A.3.d.2.

       To be sure, there are ways other than a PSN app to communicate with friends and family,

such as email, phone, or text messaging. But the personal social networking experience provides

a distinct value proposition, reducing the transaction costs of maintaining personal connections

with a broad network of people by allowing consumers to maintain relationships and share with

groups of friends in a communal setting. CS ¶ 1015(a).

       Indeed, the very fact that Meta maintains distinct messaging apps (Facebook Messenger

and WhatsApp) while also operating Facebook and Instagram, underscores its recognition that

social networking and mobile messaging entail distinct value propositions, as Meta has explicitly

represented to a foreign antitrust enforcer. CS ¶¶ 1015(b-c) (“[A] social networking service is

not a substitute for a consumer communications service.”); see also CS §§ III.C.2.a-b, V.F.2.

       Copious evidence therefore belies Meta’s claim that the concept of PSN services is

“contrived,” entailing “something” that Meta has never heard of. ECF No. 324-1 (“Mot.”) at 1.

In truth, Meta and others recognize the concept of a social networking service centered on

friends and family as serving a distinct demand. CS ¶¶ 1012-18.

               2. PSN Apps Serve the Distinct Demand for Friends and Family Sharing

       Evidence establishes that specialized PSN apps developed to serve the distinct demand

for friends and family sharing. Stated differently, PSN apps have core use and functionality for

friends and family sharing, while non-PSN apps do not. CS §§ II.A.4.a, b; II.A.5.

       Current PSN apps, in addition to Facebook and Instagram, include Snapchat and MeWe,

as well as PSN apps, such as WeChat and KakaoStory, that operate primarily outside the United

States; defunct PSN apps include Friendster, Myspace, Path, and Google+. CS § II.A.3. Meta’s

brief largely disregards these defunct or foreign providers, in an effort to claim that PSN services

are “a gerrymandered market,” Mot. at 11, but that claim disregards conclusive evidence that the
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distinctive PSN offerings provided by the above-identified PSN apps are recognized by Meta

itself and by others. See generally CS §§ II.A.3, II.A.4.c.2; CS ¶¶ 1018, 1729-31.

       Indeed, Meta and others recognize that PSN apps are distinct from other apps that do not

have a core use of friends and family sharing, such as: private messaging apps, entertainment

apps, interest-based apps, and social networks dedicated to professional or other specialized

connections. See infra § I.B.2.c; see CS § II.A.5. For example, Meta distinguished TikTok from

its own services, because TikTok is “not hired for sharing with friends and family,” CS ¶

1010(c), and




                          CS ¶ 1197(e). Indeed,



                                     CS ¶¶ 1018(c), 1199. Likewise,




                 CS ¶ 1201(a); see also CS § II.A.5.b.2.

               3. PSN Apps Can Constitute a Distinct Market and Also Offer Functions Less
                  Directly Related to Sharing with Friends and Family

       PSN apps are not necessarily filled exclusively with content from friends and family. See

SAC ¶ 168 (PSN services provide a “shared social space” regularly employed by people to share

with friends and family, which may also contain publisher-created content and advertising). A

PSN app may include this “non-friend content” by design as part of the friends and family

sharing experience: Facebook, Instagram, and Snap include this “non-friend content” and

functionality that does not involve direct interaction with friends and family, such as watching a


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short-form video not posted by a friend, CS § II.A.7.a; CS ¶ 1063, and that integration allows

people to share and discuss such content within the app with their network of friends and family.

CS ¶¶ 1310-15.

       Contrary to Meta’s assertions, Mot. at 4, 7-10, 19-20, the FTC does not ignore these

activities, which do not undermine a relevant market for PSN services or Meta’s monopoly

power. First, Meta’s incorporation of various activities into its PSN offerings on Facebook and

Instagram does not undermine the PSN services market and does not mean that apps that do not

provide friends and family sharing should be included in the market. See Mot. at 7-9, 19-20.

This would be a significant error of law, because such apps are not reasonable substitutes for

consumers seeking to satisfy their demand for friends and family sharing. See infra § I.B.3.

       Second, in assessing Meta’s market share, Professor Hemphill explained why it is

appropriate to include activities on PSN apps that may not involve direct interaction with friends

and family: both Facebook and Instagram incorporate such activities into the friends and family

sharing experience. CS ¶ 1309. Moreover, Professor Hemphill demonstrated that these shares

reliably indicate Meta’s dominance by alternately calculating market shares to focus more

narrowly on the parts of PSN apps that are most directly related to broadcast sharing with friends

and family. Infra § I.C; see CS ¶¶ 1402-04.

       Finally, Meta appears to suggest that an increasing ratio of content in Facebook and

Instagram that does not involve direct sharing with friends and family implies that friends and

family sharing is not important anymore. Mot. at 4. This is not so. CS § II.A.7.b. At the outset,

the FTC disputes Meta’s stingy classifications of whether content is related to friends and family

sharing; as noted, seemingly “non-friend content” can play a part in friends and family sharing

when it appears within a PSN app. FTC’s Rule 7(h) Statement of Genuine Issues (“FTC SGI”)



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¶¶ 11-12, 14, 56-57, 60; CS ¶ 1310. But even accepting Meta’s overly restrictive classifications,

Meta and its experts stress only proportions of time spent or content, for the last two years. Mot.

at 4; CS ¶¶ 1317-19. Obviously, putting additional “non-friend content” into an app necessarily

reduces proportions of pre-existing “friend” content, but this does not mean the original content

is declining or becoming less important. CS ¶¶ 1317-19. In fact, demand for friends and family

sharing has been large and important throughout the relevant period and remains so today. CS ¶

1316.

        B. PSN Services in the United States Constitutes a Relevant Antitrust Market

        Monopoly power can be inferred by a firm’s possession of a dominant share in a relevant

market protected by entry barriers. See Microsoft, 253 F.3d at 51. As discussed here, ample

evidence indicates that PSN services in the United States are a relevant antitrust market.

               1. Meta’s Brief Misstates Foundational Principles of Market Definition

        At the outset, it is important to correct several misstatements of foundational market

definition principles that pervade Meta’s motion. 2
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        First, Meta ignores that market definition focuses on the purpose for which

consumers demand a product. A relevant product market is “a term of art in antitrust analysis”

that identifies a set of products over which a firm could profitably exercise monopoly power.

See United States v. H&R Block, Inc., 833 F. Supp. 2d 36, 50-51 (D.D.C. 2011). The “outer

boundaries” of a relevant product market “are determined by the reasonable interchangeability of

use or the cross-elasticity of demand between the product itself and substitutes for it.” Brown

Shoe Co. v. United States, 370 U.S. 294, 325 (1962). Courts focus on whether products are

“reasonably interchangeable by consumers for the same purpose.” See Microsoft, 253 F.3d at 52


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       As Meta does not contest that the United States is a relevant geographic market, the
FTC focuses on Meta’s arguments regarding the PSN services product market.
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(citation omitted); FTC v. Facebook, Inc. 560 F. Supp. 3d 1, 13 (D.D.C. 2021) (“Facebook I”)

(quoting Microsoft, 253 F.3d at 52). In other words, “courts look at whether two products can be

used for the same purpose, and if so, whether and to what extent purchasers are willing to

substitute one for the other.” Id. (quoting H&R Block, 833 F. Supp. 2d at 51).

       Meta’s brief ignores the basic principle that market definition focuses on the purpose for

which products are used, even omitting Microsoft’s “for the same purpose” language when

purporting to cite its articulation of the market definition inquiry. See Mot. at 12; Microsoft, 253

F.3d at 52. This omission is telling and fatal. As detailed below, unrebutted and overwhelming

evidence indicates that other online services—those that are not PSN apps—are not used or

suited for the purpose of friends and family sharing. Infra § I.B.3.

       Second, Meta ignores the Cellophane fallacy. Defining a relevant market requires

special care in Section 2 cases, as they involve firms that are already alleged to have monopoly

power. See Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 975 n. 7 (9th Cir. 2023). It is a

significant error—known as the Cellophane fallacy—to observe “substitution” away from a

monopolist’s already-elevated prices and conclude that additional products or firms belong in the

relevant market, or that the firm does not possess monopoly power. See Eastman Kodak Co. v.

Image Tech. Servs, Inc., 504 U.S. 451, 471 (1992) (“[T]he existence of significant substitution in

the event of further price increases or even at the current price does not tell us whether the

defendant already exercises significant market power.”) (emphasis in original) (quoting P.

Areeda & L. Kaplow, Antitrust Analysis ¶ 340(b) (4th ed. 1988)).

       In this matter, both the FTC’s expert and Meta’s own expert have explained this fallacy,

CS ¶ 1298, yet Meta invites the Court to fall prey to it by wrongly claiming that market

definition focuses on substitution in response to “price increases” above Meta’s current quality-



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adjusted price for Facebook and Instagram. See Mot. at 1 (“A relevant antitrust market must

include the substitutes that people would use more of when faced with a price increase for

Facebook and Instagram.”); id. at 14 (suggesting that the HMT examines free-floating “price

increases,” rather than an increase above a competitive level). This assertion, incorrect as a

matter of economics, also flouts the Supreme Court. See Kodak, 504 U.S. at 470-71.

       Third, Meta incorrectly insists that consumers can never substitute to products

outside a relevant market. According to Meta, the relevant market must include all “services

to which consumers would shift time in response to a price increase.” Mot. at 14. This is clearly

incorrect: the question is not whether consumers would shift time away from PSN apps at all, but

“to what extent” they would consume non-PSN apps for the same purposes. Facebook I, 560 F.

Supp. 3d at 14 (citation omitted). Indeed, Meta’s own economic expert does not dispute that a

set of products can represent a relevant market “even if customers would substitute significantly

to products outside that group in response to a price increase.” CS ¶ 950.

       Meta’s insistence on including all apps to which any time would shift in the event of a

price increase is not the law even outside of the Section 2 context. FTC v. Sysco Corp., 113 F.

Supp. 3d 1, 26 (D.D.C. 2015) (“[T]he mere fact that a firm may be termed a competitor in the

overall marketplace does not necessarily require that it be included in the relevant product

market for antitrust purposes.”); cf. Times-Picayune Pub. Co. v. United States, 345 U.S. 594, 612

n.31 (1953) (“For every product, substitutes exist. But a relevant market cannot meaningfully

encompass that infinite range.”). And it would plainly produce errors in the Section 2 context, as

the Cellophane fallacy teaches that one should expect switching to out-of-market products if a

monopolist increases its already-elevated prices. See Insight Equity v. Transitions Optical, Inc.,

252 F. Supp. 3d 382, 389-390 (D. Del. 2017) (where a monopolist already charges “a



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supracompetitive price,” in the event of a further increase “consumers will substitute to products

they would not substitute to at a competitive price” because “at a high enough price, even poor

substitutes look good to the consumer.”) (quoting Richard Posner, Antitrust Law (2d ed. 2001)).

       Meta’s three errors combine to subvert the market definition inquiry. Here, applying

correct market definition principles, the evidence establishes that PSN services represent a

relevant product market.

               2. The Brown Shoe Practical Indicia Delineate a Relevant Market for PSN
                  Services

       Courts consider market definition “under established legal frameworks such as the

‘hypothetical monopolist’ test or the Brown Shoe factors.” Regeneron Pharms., Inc. v. Novartis

Pharma AG, 96 F.4th 327, 340 (2d Cir. 2024); FTC v. Meta Platforms Inc., 654 F. Supp. 3d 892,

912 (N.D. Cal. 2023) (“[C]ourts have determined relevant antitrust markets using, for example,

only the Brown Shoe factors, or a combination of the Brown Shoe factors and the HMT.”).

       The Brown Shoe factors serve as “evidentiary proxies” for assessing whether products

outside a relevant market are “reasonably interchangeable” with those inside of the market. See

H&R Block, 833 F. Supp. 2d at 51, 54. Meta oddly suggests that the FTC does not contend that

PSN services satisfy the Brown Shoe practical indicia. Mot. at 17. This is odd to say, given that

the FTC opposed Meta’s motion to dismiss by citing Brown Shoe and explaining how its

allegations indicated that PSN services had distinct characteristics and uses. ECF 59 at 18-19. It

is also incorrect: the FTC has not yet submitted its trial findings and conclusions, but it expects

to proffer evidence at trial showing that practical indicia indicate PSN services are a relevant

market, as previewed here. Meta is likewise incorrect to suggest that the FTC’s experts did not

support the Brown Shoe factors. Mot. at 17. Two of the FTC’s experts—Professor Hemphill

and Professor Lampe—provided analysis (drawing on their respective areas of expertise) that is


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directly informative regarding the Brown Shoe factors, and addressed and rebutted the discussion

of the Brown Shoe factors provided by Professor Ghose, Meta’s expert. CS ¶ 893-94, 905-06.

       Indeed, as explained below, Meta fails to demonstrate the absence of a genuine dispute

on any of the factors, although each factor need not be satisfied to establish a relevant market.

See FTC v. Staples, Inc., 970 F. Supp. 1066, 1075 (D.D.C. 1997); FTC v. IQVIA Holdings Inc.,

2024 WL 81232, at *13 (S.D.N.Y. Jan. 8, 2024). Accordingly, summary judgment in Meta’s

favor is inappropriate. See Eastman Kodak, 504 U.S. at 482 (reversing grant of summary

judgment and noting market definition could only be determined “after a factual inquiry”); Lucas

Auto. Eng., Inc. v. Bridgestone/Firestone, Inc., 275 F.3d 762, 766–68 (9th Cir. 2001) (reversing

grant of summary judgment where Brown Shoe factors alone raised an issue of fact).

                       (a) PSN apps have a “peculiar use” of friends and family sharing

       Extensive evidence indicates that PSN apps have a distinctive core use of friends and

family sharing, see CS § II.A.4.a, and that Meta and other firms recognize that different apps

address different “use cases.” Supra § I.A.1; CS § II.A.1; see also CS ¶ 1324. Evidence also

shows that the apps outside of the relevant market (e.g., YouTube, TikTok) lack a core use of

friends and family sharing. CS § II.A.5. Meta identifies no evidence indicating that non-PSN

apps have such a core use, and its experts have provided none. CS § II.A.5.e. Thus unrebutted

evidence is plainly sufficient to delineate a “peculiar use” within the meaning of Brown Shoe that

directly speaks to the “purpose” for which PSN apps can be used, in contrast to other types of

apps. See FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028, 1039-40 (D.C. Cir. 2008); Sysco, 113

F. Supp. 3d at 27-28; Staples, 970 F. Supp. at 1078-79; cf. Microsoft, 253 F.3d at 52.

       Meta cites no evidence supporting its sweeping assertion that consumers do “the exact

same things” on apps outside the relevant market that consumers do on Facebook or Instagram,

Mot. at 19, nor that purportedly similar activities are “identical” on non-PSN apps, compared to
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Facebook and Instagram. See Mot. at 7-9, 22. Meta proffers only isolated unsourced screen

shots of content on various apps. See FTC SGI ¶¶ 162, 171, 212, 228, 232, 235, 283, 285, 388,

428. Moreover, Meta’s claim ignores evidence that activities such as watching an entertaining

video on Facebook or Instagram are differentiated from activities on non-PSN apps because

Facebook and Instagram integrate the activities with friends and family sharing. CS § II.A.7.a.

                       (b) PSN apps have “peculiar characteristics”

       PSN apps have “peculiar characteristics” that facilitate and foster friends and family

sharing. CS § II.A.4.b. In particular, PSN apps have (or had when operating), a social graph

built with friend and family connections, CS § II.A.4.b.1, tools to foster building network

connections with friends and family, CS § II.A.4.b.2, and a shared social space for sharing

personal information and content with friends and family, CS § II.A.4.b.3.

       Moreover, PSN apps share common design elements and norms including an emphasis

on real-life identities, so that users are motivated to use PSN apps for relationship maintenance

because they perceive them to be useful in meeting that goal. See CS ¶¶ 898(a-c), 905(b), 1082-

86. The norms of PSN apps and users’ motivations to use them are important characteristics that

distinguish PSN apps from non-PSN apps: due in part to strong network effects, if an app is not

perceived by a large number of users as possessing a core purpose of personal sharing, it

becomes less useful for that purpose. See CS ¶¶ 1125-27. Nor do non-PSN apps share the

common design elements, norms, and user motivations that typify PSN apps. See CS ¶¶ 898(e),

1131 (LinkedIn), 1149 (Nextdoor), 1174 (YouTube), 1196 (TikTok), 1220 (Twitter), 1237

(Reddit), 1256 (Pinterest), 1277 (mobile messengers).

       Meta therefore errs in asserting that the FTC’s experts concede that non-PSN apps have

“the very features that the FTC claims are characteristic of PSNS apps.” Mot. at 19. The FTC

does not allege that any social graph is characteristic of PSN apps, but rather that PSN apps have
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a particular type of social graph built around friends and family connections. CS § II.A.4.b.1;

SAC ¶ 167. A social graph centered on professional connections (e.g., LinkedIn’s) differs

dramatically from the social graph that characterizes a PSN app. CS ¶ 1139; see also CS ¶

1295(e). Indeed, Meta itself describes LinkedIn’s social graph as “orthogonal” to Facebook’s.

CS ¶ 1139(c). Similarly, Meta argues that TikTok and Twitter “allow” for sharing in a “shared

social space.” Mot. at 19. But the existence of any shared space is not a distinguishing

characteristic of PSN apps; instead, it is a shared space regularly employed for sharing with

friends and family. CS § II.A.4.b.3; SAC ¶ 168. Here, both ordinary-course evidence and data

show that TikTok and Twitter are not designed and used for friends and family content, and this

“characteristic” thus differs from PSN apps. CS ¶¶ 1205-16, 1226-1232.

       At bottom, Meta identifies purportedly “similar” features at a superficial level of

generality that fails to suggest that non-PSN apps are capable of serving the demand that PSN

apps serve. CS ¶¶ 904, 1295-96. To say that LinkedIn is “similar” to Facebook on account of

having—generically, a “feed” and a “social graph”—is akin to saying that broadline distributors

and specialty distributors both have warehouses and trucks, and thus are “similar,” while

ignoring the distinguishing characteristics of their warehouses and trucks. See Sysco, 113 F.

Supp. at 28-29; CS ¶ 1295(e). Such superficialities do not refute a relevant market. See Sysco,

113 F. Supp. at 28-29; see also IQVIA, 2024 WL 81232, at *13-20 (advertising in the market had

“distinct characteristics and offer[ed] something meaningfully different,” unlike other online

advertising that provided some of the same features).

                      (c) Industry and public recognition of distinct demand for friends and
                          family sharing and PSN apps

       As previewed above, Meta and others recognize both a distinct consumer demand for

friends and family sharing and that PSN apps serve that demand, in contrast to other applications


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that lack a core use case of friends-and-family sharing. Supra §§ I.A.1, I.A.2; CS § II.A.4.c.

       Meta disregards the foregoing compelling evidence of industry and public recognition,

pointing instead to evidence suggesting that broader markets may exist for “social media” apps

or “time and attention” or that non-PSNS offerings compete with Meta in other spheres (e.g., to

satisfy demand for entertaining video). Mot. at 18-19. In doing so, Meta fails to understand that

the Brown Shoe factors provide persuasive evidence supporting a narrower “submarket,” even

though there may be a broader market for “attention” or “social media.” See Staples, 970 F.

Supp. at 1075. Stated differently, Meta disregards that a firm can operate in multiple and

concentric relevant markets. See United States v. Bertelsmann SE & Co. KgaA, 646 F. Supp. 3d

1, 27-28 (D.D.C. 2022). Defining a relevant market is “not an end unto itself,” but rather a

means to analyze the competitive concern raised in a plaintiff’s cause of action (id. at 24): here,

whether Meta—which indisputably operates an app (Facebook) that serves a core use of friends

and family sharing—has monopoly power with respect to that service. SAC ¶ 232.

       “[T]he FTC does not have to disprove Defendants’ theory of [a broader] product market.

It has to show only that [its proposed] market satisfies the criteria for a relevant product market.”

FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 895 (E.D. Mo. 2020) (emphasis in original)

(citing Brown Shoe, 370 U.S. at 325); see also IQVIA, 2024 WL 81232, at *24 (“the existence of

a larger market within which two products compete does not necessarily mean that they are

reasonably interchangeable substitutes for one another”). Whether, hypothetically, a market for

“all attention” or for consumption of entertaining video might also constitute relevant markets in

which Facebook competes with firms such YouTube, is a question for a different case involving

a different (hypothetical) competitive problem. See Bertelsmann, 646 F. Supp. 3d at 27-28 (“The

Court is unswayed by the defendants’ tactic of enumerating other markets or submarkets in



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which competition would not be harmed by the merger….[E]ven if alternative submarkets

exist…, or if there are broader markets that might be analyzed, the viability of such additional

markets does not render the one identified by the government unusable.”); see also infra I.B.3.

       Meta also seems to demand that the FTC produce a magic-bullet document applying “the

PSNS rubric” to all four of Facebook, Instagram, Snapchat, and MeWe. Mot. at 18. This misses

the mark because the Brown Shoe inquiry does not hinge on the use of particular jargon to

describe a market; it focuses instead on whether a product offering or a set of firms represents “a

separate economic entity.” See Brown Shoe, 370 U.S. at 325; FTC v. Staples, Inc., 190 F. Supp.

3d 100, 119 (D.D.C. 2016) (industry recognition of “large B-to-B customers as a separate

economic entity”). In any event, industry participants have expressly referred to “personal social

networking,” to Facebook as a “personal social network,” and to Facebook and Instagram as

“personal social networking services.” CS ¶¶ 1108, 1111; see also CS ¶ 1108(n).

       Here, extensive evidence indicates that PSN apps represent a separate economic entity

because they have a core use and functionality for friends and family sharing, and compete with

one another to satisfy the demand for that use case. CS §§ II.A.2, II.A.4.a.1-4.

                       (d) Remaining Brown Shoe factors

       Attempting to sidestep “[t]he remaining Brown Shoe factors,” Mot. at 20, Meta provides

no serious argument and fails to show the absence of a dispute on any of them. 3   2F




       Sensitivity to price changes, distinct customers, and distinct prices. Contrary to

Meta’s claims that there “is no evidence” regarding consumers’ sensitivity to price changes, Mot.

at 20 (emphasis in original), there is copious evidence on this point, and it strongly supports the



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         It is unnecessary to address “specialized vendors” given the other indicia, and Meta fails
to meaningfully address it. See Mot. at 20 (citing Meta’s SMF ¶ 614, which contains no
information about specialized vendors).
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PSN services market. Evidence shows that Meta’s customers are insensitive to changes in the

quality-adjusted price, such as increased ad loads or significant degradations of the perceived

quality of Meta’s offerings, including the Cambridge Analytica scandal. CS § II.C.4. Indeed,

Meta did not significantly lose users following the latter scandal, indicating that it is not

constrained from exercising monopoly power by the range of widely used non-PSN apps that it

claims, but instead competes within “a separate economic entity”—i.e., a market for PSN

services in which it holds tremendous power. CS § II.C.4.a.1.

       Relatedly, Meta’s ordinary-course surveys and the FTC’s survey expert provide evidence

of distinct customers that cite friends and family sharing as central to their use of Meta’s PSN

apps (unlike non-PSN apps), and data confirms that an overwhelming majority of Facebook and

Instagram users utilize the aspects of both apps (Feed and Stories) most directly related to friends

and family sharing. CS §§ II.A.4.a.6, II.A.7.b. Moreover, Meta discriminates in its quality-

adjusted price by imposing higher prices on certain users. Infra § I.D; CS § II.C.4.b. This is

evidence of “distinct prices” and “distinct customers” that confirms PSN services as a relevant

market. See Whole Foods, 548 F.3d at 1039-40 (price discrimination represented evidence of

“distinct prices” and “distinct customers”).

       Unique production facilities. Meta incongruously claims that there are “no unique

production facilities,” Mot. at 20 (emphasis in original), yet it simultaneously and inconsistently

claims “proprietary” infrastructure that delivered procompetitive benefits to Instagram and

WhatsApp. See Mot. at 4, 5, 6, 36. On its face, Meta’s motion therefore creates a factual dispute

about unique production facilities. Moreover, while evidence contradicts Meta’s claims of

procompetitive benefits related to infrastructure, CS §§ V.E, V.I, VII.A.1, VII.A.6, VII.B.1,

VII.B.3, other evidence indicates that PSN apps have unique production facilities, including a



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network of other users producing and sharing friends and family content. CS § II.A.4.d.

               3. Other Apps Are Not Reasonable Substitutes for PSN Services

       The evidence discussed above answers Meta’s demand for “evidence of substitution,”

Mot. at 11, 12-14, because the Brown Shoe practical indicia are “evidentiary proxies for proof of

substitutability and cross-elasticities of supply and demand.” H&R Block, 833 F. Supp. 2d at 51.

That is, the extensive evidence detailed above of the distinctions between PSN apps and non-

PSN apps, and of the distinct demand for friends and family sharing, indicates that other online

services and the apps that provide them are not “reasonably interchangeable by consumers for

the same purposes” as PSN services. Microsoft, 253 F.3d at 52.

       Meta persistently suggests that the presence of activities on Facebook and Instagram that

do not directly involve sharing with friends and family negates the PSN market or requires

inclusion of non-PSN apps in the market. Mot. at 7-10, 19-20. As addressed above and revisited

here, this is wrong for several reasons. Supra §§ I.A.3 & I.B.2.c.

       First, as already noted, Meta never actually provides evidence that any such features or

activities are “identical,” supra, and the evidence indicates that Meta has differentiated its

functionality from non-PSN apps by incorporating offerings such as short-form video within the

friends-and-family social networking experiences of Facebook and Instagram. CS § I.A.7.a. But

even if it were true that such features were identical that would be no more probative of market

definition than the unremarkable fact that consumers shop at different stores that may sell some

identical items. Whole Foods, 548 F.3d at 1040 (“[t]he fact that a customer might buy a stick of

gum at a supermarket or at a convenience store does not mean there is no definable groceries

market”); United States v. Conn. Nat’l Bank, 418 U.S. 656, 662, 664 (1974) (“savings banks”

properly excluded from “commercial banks” relevant market despite “fierce” competition

between them for “identical or essentially fungible services” because for some customers
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“commercial banks . . . offer a ‘cluster of products and services’ that their savings bank

counterparts do not”) (internal citation omitted).

       Indeed, when firms within the relevant market provide an integrated offering that affords

“access to certain products or services that would otherwise be unavailable to” customers with a

demand for the relevant product, providers of individual components of the integrated offering

are not reasonable substitutes. Whole Foods, 548 F.3d at 1039 (quoting Phillipsburg Nat’l Bank

& Trust Co., 399 U.S. 350, 360 (1970)); see also Conn. Nat’l Bank, 418 U.S. at 662, 664; Sysco,

113 F. Supp. 3d at 27-29 (specialty distributors not substitutes for broadline services).

       Here, non-PSN apps do not offer a core use and functionality that serves the demand for

friends and family sharing. CS ¶ 1125. That means they are not reasonable substitutes for PSN

services, and do not belong in a relevant market for PSN services, even though they may

compete with Meta to serve the demand for, e.g., consuming entertaining video. See Mot. at 18.

For the same reason, evidence that

          Mot. at 18, does not constitute evidence that YouTube competes with Meta to satisfy

demand for friends and family sharing. See Whole Foods, 548 F.3d at 1040 (evidence that

specialty supermarkets and other stores “are direct competitors in some submarkets . . . is not the

end of the inquiry”) (alterations in original) (quoting Conn. Nat’l Bank, 418 U.S. at 664 n. 3).

       In sum, non-PSN apps cannot satisfy consumers’ demand for friends and family sharing

and do not check Meta’s ability to exercise power over Facebook and Instagram users seeking to

satisfy this demand, even if non-PSN apps may compete for the attention of users seeking to

satisfy other demands, such as consuming news or entertaining videos. CS § II.A.7.c. Evidence

shows that Facebook and Instagram users exhibit a strong demand for friends and family sharing,

CS § II.A.7.b, and evidence also indicates that Meta has been able to let quality decline on



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Facebook and Instagram and still reap high profits, CS § II.C.5, underscoring that non-PSN apps

do not discipline Meta’s exercise of monopoly power. CS ¶¶ 1333-34.

       Second, evidence that Meta price discriminates on the friends and family sharing use case

confirms the relevant market for PSN services (and Meta’s exercise of monopoly power). Meta

price discriminates through several mechanisms. CS §§ II.A.7.c.2, II.C.4. For example, Meta is

able to vary ad load on Facebook                , often inflicting higher ad load on

          users—who tend to have a greater demand for friends and family sharing—compared

to                      . CS ¶ 1525. Similarly, user                                          —

who are more likely to use Facebook for friends and family sharing—tend to receive higher ad

load than those users                                . CS ¶ 1528. Additionally, Meta recognizes

that it has underinvested in the friends and family sharing use case on Facebook and Instagram,

which means that it has effectively reduced quality (and raised quality-adjusted price) to users

that value that use case. CS § II.C.3.c.

       Stated differently, Meta charges a higher quality-adjusted price to users with relatively

inelastic demand for friends and family sharing, CS § II.C.4.b.2, regardless of the competition it

faces for more elastic users—according to Meta, elastic users might include people who do not

demand friends and family sharing and instead use Facebook and Instagram for activities that

they can find on (e.g.) TikTok or YouTube. See, e.g., Whole Foods, 548 F.3d at 1038

(“[C]ustomers may be captive to the sole supplier, which can then, by means of price

discrimination, extract monopoly profits from them while competing for the business of marginal

customers.”). Key pieces of the foregoing price discrimination evidence are unrebutted, CS §

I.C.1.e, which is sufficient to sustain the relevant market at trial and forecloses summary

judgment in Meta’s favor. See Whole Foods, 548 F.3d at 1038-39 (core customers with demand



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for the relevant product that were vulnerable to price discrimination confirmed the existence of a

relevant market); Staples 970 F. Supp. 1066, 1078-79 (same); Sysco, 113 F. Supp. 3d at 38-39

(discussing targeted customer concept).

       Finally, no authority supports Meta’s suggestion that the Court should analyze separately

“all reasonable substitutes” for each of the “250 activities” Meta claims are available on

Facebook and Instagram. Mot. at 1. Facebook and Instagram are integrated service offerings,

CS § II.A.7.a, and Meta cites no evidence indicating that consumers view Facebook and

Instagram as atomized collections of discrete activities, which Meta suggests is the appropriate

way to view the apps. See Mot. at 1, 6. When such integrated products/services are at issue,

relevant antitrust markets are routinely defined without separately analyzing each component of

the service. See Whole Foods, 548 F.3d at 1036-1041 (defining a relevant market for specialized

supermarkets without separately analyzing every food item sold in supermarkets); Sysco, 113 F.

Supp. 3d at 24-50 (defining a relevant market for broadline distribution without separately

analyzing individual items sold by broadline distributors); Staples, 970 F. Supp. 1066, 1078

(same, defining office supply superstore market).

               4. A Hypothetical Monopolist of PSN Services Would Profitably Impose a
                  Quality-Adjusted Price Increase Above a Competitive Level

       Application of the HMT provides an alternate means of identifying a relevant market and

further evidence that PSN services are a properly defined relevant market. See Regeneron

Pharms., 96 F.4th at 341; see id. n. 8. As detailed below in § I.B.5, the HMT asks whether a

single firm controlling a set of products can profitably raise quality-adjusted price above a

competitive level. U.S. Dep’t of Justice & FTC, Merger Guidelines § 4.3.A (2023) (“2023

Guidelines”). Contrary to Meta’s assertion, Mot. at 15, the HMT does not require a quantitative

implementation. See, e.g., McWane, Inc. v. FTC, 783 F.3d 814, 829-30 (11th Cir. 2015)

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(crediting testimony of economic expert that applied an HMT using qualitative evidence and

noting that courts “routinely rely on qualitative economic evidence to define relevant markets”)

(citation omitted). Indeed, the FTC-DOJ Merger Guidelines, on which courts rely as persuasive

authority, expressly contemplate evaluating the HMT using qualitative evidence, as Meta’s

expert concedes. CS § I.C.1.c, ¶¶ 1299-1300; see also 2023 Guidelines § 4.3.C.; U.S. Dep’t of

Justice & FTC, Horizontal Merger Guidelines § 4.1.3 (2010) (“2010 Guidelines”).

        Reliance on qualitative evidence is particularly appropriate in Section 2 cases, because

empirical studies of price increases above a monopolist’s current prices fall prey to the

Cellophane fallacy. See supra § I.B.1; CS ¶ 1298; see also CS ¶¶ 953-54; Epic Games, 67 F.4th

at 975 n. 7.

        Here, Professor Hemphill examined a wide range of evidence—including empirical

analysis regarding how apps are used, consumer surveys, ordinary course documents, and

testimonial evidence—that illuminates the purpose for which consumers use various apps, and

the extent to which non-PSN apps are reasonable substitutes for consumer seeking to satisfy

demand for friends and family sharing. CS §§ II.A.4.a.6-8, II.A.5. And he described how this

evidence shows that a hypothetical monopolist controlling all PSN services (and thereby all PSN

apps) would profitably raise quality-adjusted price above a competitive level. CS § II.A.6.

Professor Hemphill’s market definition analysis is additionally bolstered by the extensive direct

evidence that Meta exercises significant market power over users, see infra § I.D, and by the

evidence that Meta’s control of Instagram allowed it to increase quality-adjusted prices on

Facebook and Instagram by (among other things) raising ad loads. See infra § II.C.2; CS §§

I.C.1.d, II.C.3.a; see also 2010 Guidelines § 4 (“[E]vidence that a reduction in the number of

significant rivals offering a group of products causes prices for those products to rise



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significantly can itself establish that those products form a relevant market.”). And while a

quantitative execution of the HMT is not required, see McWane, 783 F. 3d at 829-30, Professor

Hemphill additionally explained how the “de-merger” model offered by one of Meta’s experts

(Professor List) demonstrated that a firm controlling both Facebook and Instagram would

profitably raise ad load on users (one component of quality-adjusted price), compared to

Instagram operating independently. CS ¶¶ 1304, 1953.

       In sum, Professor Hemphill’s analysis matches or exceeds showings that courts have

found sufficient to impose liability after trial, and thus summary judgment forestalling a trial is

plainly inappropriate. See McWane, 783 F.3d at 829; United States v. Microsoft Corp., 84 F.

Supp. 2d 9 (1999) (hereinafter, “Microsoft Findings”) at ¶¶ 19-29 (finding relevant market with

reference to only qualitative evidence); Testimony of Franklin M. Fisher (DOJ Economic

Expert), United States v. Microsoft, available at: https://www.justice.gov/atr/testimony-franklin-

m-fisher-united-states-v-microsoft-corporation#9 (offering opinion on relevant market and

monopoly power relying on qualitative evidence).

               5. Meta’s Experts’ Analyses Are Irredeemably Flawed

       Meta stresses four analyses conducted by its experts: an analysis of an “outage” by

Professor Carlton, and three data analyses by Professor List. Mot. at 15-16. These analyses are

irredeemably flawed and uninformative regarding market definition or Meta’s monopoly power.

       First, Meta’s experts did not properly implement the basic elements of the HMT.

The HMT asks whether “a hypothetical profit-maximizing firm” controlling all products within

the candidate market would find it profitable to impose a “small but significant non-transitory

increase in price (‘SSNIP’) or other worsening of terms (‘SSNIPT’) for at least one product in

the [candidate market],” with “small’ typically understood as a 5% increase. 2023 Guidelines §

4.3.A (emphasis added); Food Lion, LLC v. Dean Foods Co. (In re Se. Milk Antitrust Litig.), 739
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F.3d 262, 277-78 (6th Cir. 2014); Sysco, 113 F. Supp. 3d at 33-34 (articulating and relying on the

hypothetical monopolist test).

       In the Section 2 context, the baseline for implementing the “price increase” of a SSNIP

test is competitive prices—not the defendant’s existing prices. 2023 Guidelines § 4.3.B n.83; CS

§ I.C.1.b, ¶¶ 1297(c), 1351. For this reason, even if certain basic requirements can be met, a

SSNIP test—which looks at price increases—is of limited value in monopolization cases:

because they “involve markets in which a defendant has substantial market power or monopoly

power (and has already exercised that power to charge a supracompetitive price), a SSNIP

analysis in such cases ‘must not be used uncritically, and alternative indicia of market power

should be explored.’” Epic Games, 67 F.4th at 975 n. 7 (emphasis in original) (quoting Areeda

& Hovenkamp, Antitrust Law ¶ 539 (4th ed. 2022) (hereinafter “Antitrust Law”)).

       Here, Meta’s purported quantitative analyses are of no value at all, because Meta’s

experts ignored the preconditions required to properly implement the HMT. CS §§ II.A.8.a-b.

Professor Carlton analyzed an “outage”: this is not a “small” price increase because an outage is

equivalent to an infinite price increase; moreover the outage was transitory rather than non-

transitory (it lasted only a few hours). CS ¶ 1344. These failings fatally undermine the insight

the HMT is intended to provide regarding products that are “reasonably interchangeable by

consumers for the same purpose.” See Microsoft, 253 F.3d at 52 (quoting du Pont, 351 U.S. at

395). An enormous (even infinite) price increase fails to illuminate which products might be

reasonably interchangeable with Meta’s PSN offerings. Insight Equity, 252 F. Supp. 3d at 390

(“[A]t a high enough price, even poor substitutes look good to the consumer.”) (quoting Richard

Posner, Antitrust Law (2d ed. 2001).

       Likewise fatal is a failure to measure non-transitory price increases, particularly given the



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strong network effects present here: it takes time for consumers using PSN apps to build a

network of friends and family on the app. See CS ¶¶ 1344-45, 1350. When a user’s preferred

PSN app is unavailable for a few hours (or even weeks), a PSN user cannot practically satisfy

their demand for friends and family sharing by switching to a different app on which they have

not built a network—and even if another PSN app is available, the user cannot immediately build

the requisite network of connections on the app. See CS ¶¶ 1345(b)-(d), 1350. Any “switching”

then observed to non-PSN apps does not hold an inference that consumers are finding reasonable

outlets for their demand for friends and family sharing, but rather that they are finding other

things to do while they wait to resume access to PSN services. See CS ¶ 1350. Indeed, in

Professor Carlton’s outage study, nearly              of the Meta time lost was caused by people not

using their phone at all, underscoring that many people found no online service a suitable way to

spend their time when Facebook and Instagram were unavailable. CS ¶ 1350(e); see also CS §§

II.A.8.c-d (discussing other flaws in Professor Carlton’s analysis).

       Professor List’s “pricing” experiment fails to furnish evidence relevant to implementing

the HMT for the same reasons Professor Carlton’s did: it was transitory (study participants knew

it ended in a few weeks) and not “small” (20% price increase). CS ¶ 1345. Professor List’s

analysis of an episode in which India banned TikTok and 58 other applications likewise did not

involve a “small” price increase (instead, an infinite price increase), and is flawed for other

reasons. CS ¶ 1346. Finally, Professor List’s analysis of a “switching study” involved no

pricing change or worsening of terms, CS ¶ 1347, and thus fails to provide any basis for

implementing the HMT. It is also uninformative because while Meta claims the study showed

how users “trade off time spent,” it in fact observed only changes in shares of time spent. Thus

if a subject’s use of Facebook did not change but the consumer more intensively used a gaming



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app, Meta labels it a “trade off” even though usage of Facebook was unchanged. See CS ¶

1347(c); FTC SGI ¶¶ 554-61.

       Second, even if Meta’s experts had followed the basic prerequisites of the SSNIP

test, their results would still be uninformative due to the Cellophane fallacy. Professor

Carlton’s study and Professor List’s pricing experiment fail for the additional reason that they

apply (large) price increases to Meta’s current prices for Facebook and Instagram, rather than to

prices set at a competitive level. CS ¶ 1351. This improperly falls prey to the Cellophane

fallacy. See infra § II.A.1; Epic Games, 67 F.4th at 975 n. 7.

       Third, Meta’s purportedly “commonsense” market definition approach lacks a

basis in law or economics. Meta commits yet another error by asserting (notably without any

supporting citation) that no apps can “be excluded from the market,” if Professor Carlton’s and

Professor List’s flawed empirical studies indicate they received a greater transitory time-spent

increase than Snapchat. Mot. at 16. This argument fails both due to the lack of legal support and

because courts have rejected various defendants’ efforts to insist on a “technical approach” of

defining participants in a relevant market based on a rigid order of supposed diversion. See

United States v. Aetna Inc., 240 F. Supp. 3d 1, 37–41 (D.D.C. 2017) (rejecting a “technical

approach” to market definition that requires ranking and ordering based on diversion levels);

FTC v. Advoc. Health Care, 2017 WL 1022015, at *4 (N.D. Ill. Mar. 16, 2017) (diversion ratios

insufficient to establish that alternatives should be included in relevant market in light of other

evidence); H&R Block, 833 F. Supp. 2d at 64-71 (rejecting defendants’ complaint that the

plaintiff had not included alternatives that were “closer substitutes” based on a diversion

measure). This is plainly true here as well, given ordinary-course evidence indicating that non-

PSN apps are not attractive options for consumers for friends and family sharing, and given that



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Meta’s supposed evidence of diversion is based on a faulty methodology rather than a proper

implementation of a SSNIP test.

          Respected economists likewise disavow this “algorithmic” approach to market definition;

the 2023 Merger Guidelines nowhere suggest it is appropriate; and the 2010 Merger Guidelines

mentioned but did not require the approach. See CS ¶¶ 1357-58. And in any event, Professor

Carlton failed to even implement his own flawed order-of-diversion approach in suggesting the

apps that he claims might be “closer substitutes” to Facebook and Instagram than Snapchat. CS

¶ 1367.

          Meta’s empirical studies are also fatally flawed ways to assess order of diversion, even

assuming one wanted to follow an “algorithmic” approach. At bottom, given their failure to

follow basic elements of a proper “SSNIP” test, Meta’s empirical studies are biased towards

creating greater “diversion” to non-PSN apps and therefore do not show that non-PSN apps are

“closer substitutes” to Facebook and Instagram than PSN apps, in any sense intended by a proper

implementation of the HMT. CS § II.A.8.c.2. As already noted, given network effects and

switching costs, “transitory” price increases are an especially unsuitable way to assess

substitution for friends and family sharing, and that means that Meta’s transitory stimuli would

produce more switching to non-PSN apps than a properly run SSNIP. CS § II.A.8. Likewise,

the cross-elasticity of demand between two products can change as the price of one product

increases. CS ¶ 1351(c). This means that at Meta’s already-elevated quality-adjusted prices, a

price increase will cause greater diversion to “out-of-market” non-PSN apps than would be the

case if Meta priced Facebook and Instagram at a competitive level. CS ¶ 1363; Insight Equity,

252 F. Supp. 3d 382, 390 (“At the inflated supracompetitive price, consumers will substitute to

products they would not substitute to at a competitive price.”); CS ¶ 1351(c). Large price



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increases likewise alter substitution. See CS ¶¶ 1344(a), 1346(a), 1349, 1363.

       In any event, Meta overlooks insights from the studies that support and confirm the

market for PSN services. CS § II.A.8.d. That large portions of users in Professor Carlton’s

study and Professor List’s experiment switched to no other online service—they stopped using

their phones entirely—confirms the lack of reasonable substitutes for Meta’s PSN services. CS ¶

1350(e). Further, in Professor Carlton’s outage study, for people who had both a Facebook or

Instagram account and a Snapchat account, Snapchat is the app receiving the largest increase in

usage when Meta’s apps were unavailable. CS ¶ 1370(c). Thus, in Meta’s order-of-diversion

terms, Snapchat is the “closest substitute” to Facebook and Instagram in Professor Carlton’s

study for those that had a friends-and-family network built on a non-Meta PSN app—which are

the only people who would have the ability, in such a short event, to find an alternative to Meta

for satisfying demand for friends and family sharing. CS ¶ 1370(c); see also CS ¶ 1345(d)

(similar insights for Professor List’s experiment).

       Finally, the analysis of Meta’s experts ultimately leads nowhere. Notably, neither

Professor Carlton nor Professor List purport to offer opinions based on an application of the

HMT, and neither opines that a hypothetical monopolist controlling all PSN apps (or even just

Facebook or Facebook and Instagram) would be unable to profitably raise quality-adjusted price

above a competitive level. CS § II.A.8(e). This omission means both that Professor Hemphill’s

HMT opinion is unrebutted and that Meta’s purported analyses of “substitution” are pointless.

The HMT does not turn on any substitution, but only substitution that is effective in preventing a

single supplier of a relevant product from profitably raising price above a competitive level. See

CS ¶ 950 (“[T]he hypothetical monopolist test may identify a group of products as a relevant

market even if customers would substitute significantly to products outside that group in



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response to a price increase.”); see also IQVIA Holdings Inc., 2024 WL 81232, at *25.

       Having piled error upon error, the analyses offered by Meta’s experts are unreliable and

uninformative of market definition or monopoly power in this case, and provide no basis for

summary judgment in Meta’s favor. CS § II.A.8; see also CS ¶ 940.

               6. Professor Hemphill and Professor Lampe’s Opinions Do Not Conflict

       Meta tries to brush aside the copious evidence establishing a relevant market by

fabricating a conflict between the FTC’s experts, suggesting that Professors Hemphill and

Lampe disagree on which activities “count as PSNS.” Mot. at 12. No such conflict exists.

Professor Hemphill identified current PSN apps to which consumers turn to satisfy their demand

for friends and family sharing. CS ¶ 1393. Prof. Lampe identified the same PSN apps, based on

his examination of many different services’ designs and norms, and the motivations of users. CS

¶ 898. Both experts agree that the identification of a PSN app is unaffected by the fact that (i)

consumers can also engage in other activities on a PSN app that are less directly related to that

purpose, and (ii) that non-PSN apps offer some of those activities. CS ¶¶ 890, 901, 906(b).

       Professor Hemphill, unlike Professor Lampe, was tasked with identifying appropriate

metrics for market shares. He explained why it is appropriate to include the full range of

Facebook and Instagram activities when calculating shares, see infra § I.C, and Professor Lampe

explained that his conclusions are entirely consistent: “Facebook is a personal social networking

site and . . . uses of that site are then related to personal social networking.” FTC SGI ¶ 605.

Meta is thus incorrect to suggest that Professor Lampe offered any inconsistent views on either

which apps are PSN apps, or what activities should “count as” as usage of a PSN services for

market share purposes—see Mot. at 12—indeed, as Professor Lampe is not an economist, he

offered no views at all on how to calculate market shares. FTC SGI ¶ 613.

       Meta likewise errs when it suggests that Professor Lampe distinguished PSN apps from
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non-PSN apps solely because they facilitate sharing with “weak tie” connections. See Mot. at

12. In Professor Lampe’s cited testimony, he was asked to distinguish PSN apps from “other

types of social networking sites or messaging applications.” FTC SGI ¶ 610. PSN apps provide

benefits with respect to strong and weak ties, CS ¶ 903(a), and are distinguished from those other

types of applications because, among other reasons, PSN apps provide functionality designed to

facilitate maintaining relationships with strong and weak ties (e.g., unlike mobile messengers

PSN apps “facilitate connection discovery” through, e.g., a traversable social graph) and PSN

apps’ designs, norms, and user motivations center on relationship maintenance as opposed to,

e.g., connecting around shared interests. See CS ¶¶ 899, 1125-27.

       C. Meta’s Dominant Market Share and Significant Entry Barriers for PSN Services

       Meta’s market share well exceeds the 60% threshold “that courts ordinarily find

sufficient to establish monopoly power.” FTC v. Facebook, Inc., 581 F. Supp. 3d 34, 47-48

(D.D.C. 2022) (“Facebook II”). Professor Hemphill analyzed data, both from market

participants and commercial data providers, on important metrics: time spent; Monthly Active

Users (“MAU”); Daily Active Users (“DAU”); and original posting activity. CS § II.B.1.a.

Employing conservative assumptions, he showed that Meta’s market share has exceeded         %

from 2011 through 2022. CS ¶¶ 1396-97, 1400. Meta’s more recent shares are higher: using

market participants’ data, in 2022,    % of time spent,      % of MAUs, and        % of DAUs;

from January-June 2022     % of posts produced. CS ¶ 1401.

       Taken together, these metrics provide compelling evidence of Meta’s competitive

significance within the U.S. PSN services market, as they indicate not only how many consumers

turn to Meta’s applications (DAU, MAU) but also how intensively consumers use them (time

spent), and how intensively they use them to engage in friends and family sharing in a broadcast

format (number of posts per user). See CS ¶ 1400. Professor Hemphill explained why it is
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appropriate to calculate shares to include all activities on Facebook and Instagram, because both

apps incorporate such activities into the friends and family sharing experience, explicitly

leveraging friends-and-family social graphs to provide those activities in an integrated fashion.

CS ¶ 1400, § II.A.7.a.

       Meta does not suggest any alternative metrics, and these are plainly sufficient to indicate

Meta’s market share. Facebook II, 581 F. Supp. 3d at 48 (“The closest available approximation

often will do.”) (internal quotation omitted); Cf. United States v. Bazaarvoice, Inc., 2014 WL

203966, at *32 (N.D. Cal. Jan. 8, 2014) (even if available data is “imperfect,” “that does not

mean that one should ignore the existing data or the market realities.”). Indeed, Meta’s own

expert concedes that, taking as true that Prof. Hemphill correctly identified market participants,

his calculations accurately indicate Meta’s share. CS ¶¶ 1406-08. Further, to ensure that these

metrics did not overstate Meta’s dominance over friends-and-family sharing, Professor Hemphill

demonstrated that Meta’s share is dominant when focusing only on “the parts of PSN apps that

are most directly related to broadcast sharing with friends and family.” CS ¶¶ 1402-04.

       Meta does not contest Professor Hemphill’s calculations, but instead argues that other

non-PSN apps must be included within the relevant market because they have certain features

that Meta also offers, such as short form video. Mot. at 22-23. As already explained, this is

incorrect. Supra § I.B.3. Moreover, Professor Hemphill demonstrated that Meta would possess

a dominant share of friends and family sharing activity even if incidental friends and family

usage of non-PSNS applications were erroneously used to calculate market shares. CS ¶ 1405.

       Meta’s dominant market share is protected by significant entry barriers including

powerful network effects, as well as switching costs that lock users into Meta’s applications. CS

§ II.B.2.a. See Facebook II, 581 F. Supp. 3d at 51 (“[T]here can be little doubt that network



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effects and switching costs are commonly recognized types of barriers to entry”). Professor

Hemphill’s analysis of these barriers was based on, and is confirmed by, copious ordinary course

evidence that Meta recognizes that its “network effects provide a [real] competitive moat,” and

acknowledges its goal to “make switching costs very high for users.” CS ¶¶ 1414(b), 1419(b).

The high initial costs of developing a PSN app and building a friends-and-family network

represents another barrier, which has been reinforced because industry participants recognize that

Meta’s acquisitions of Instagram and WhatsApp cemented Meta’s dominance, and as a result

initial funding for new PSN services has dried up. CS ¶¶ 1422-24.

       Meta ignores this evidence, and instead trumpets the growth of TikTok, which does not

offer PSN services. Mot. at 23. According to Meta, the growth of an application with “features

to compete with some” features offered by Facebook and Instagram, Mot at 23, necessarily

indicates low barriers to entry and expansion in PSNS. This is incorrect: for example,



          See CS ¶¶ 1180(c), 1193, 1426(b). Indeed,                           confirms the difficulty

of PSN services entry,                                                                            .

CS ¶¶ 1215-16.

       Similarly, the existence of entry barriers is not disproven, but is instead confirmed, by the

experiences of the few PSN apps that have launched in recent years. See Mot. at 23 (identifying

MeWe and BeReal). BeReal and MeWe both                                  because “entry barriers

prevent these new apps from gaining competitively significant market shares.” CS ¶ 1425(c-e).

Where entry has occurred but has not “significantly deconcentrated the market” “[t]he number of

new entrants [] does not belie the substantial entry barriers characteristic of the [relevant]

market.” United States v. Black & Decker Mfg. Co., 430 F. Supp. 729, 751 (D. Md. 1976); Meta



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Platforms, 654 F. Supp. 2d at 925 (quoting Black & Decker). Here, concentration has only

increased, as Google+ exited the market in 2019 and Snap has failed to expand beyond its niche

and erode Meta’s dominant share. See PX9000, Hemphill Report Exs. 40, 43, 46-47.

       Finally, Meta asserts that because WhatsApp posed a nascent threat to Meta, other firms

must pose similar threats today and Meta therefore lacks monopoly power. Mot. at 23-24. But

as in Microsoft, the existence of a significant nascent threat outside a relevant market

(WhatsApp) does not undermine an entry barrier finding. See Facebook I, 560 F. Supp. 3d at 15-

16 (citing Microsoft, 253 F.3d at 54). Meta’s comparison is also factually inapposite: Meta cites

no evidence that any application is now well-positioned to enter PSNS, whereas in 2014

WhatsApp was well positioned to do so. See infra § II.A.2. Moreover, entry barriers are higher

today than in 2014 due in part to Meta’s acquisition of WhatsApp. See CS ¶¶ 1424-25, 1885-91.

       D. Direct Evidence Indicates Meta’s Monopoly Power over PSN Services

       Multiple sources of direct evidence indicate that Meta has “the power to control prices”

and “exclude competition,” Grinnell, 384 U.S. at 571, which both confirms the indirect evidence

and provides an independent demonstration of Meta’s monopoly power. CS § II.C; see

Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 307 & n.3 (3d Cir. 2007).

       Sustained high profits. Meta earns extraordinarily high economic profits and has

sustained them for many years, plainly indicating monopoly power. CS § II.C.2.a; Town Sound

& Custom Tops, Inc. v. Chrysler Motors Corp., 959 F.2d 468, 481 n.17 (3d Cir. 1992) (“[C]ourts

can also infer market power from direct evidence of sustained supranormal profits rather than

indirectly from evidence of market shares[.]”); Colo. Interstate Gas Co. v. Nat’l Gas Pipeline

Co. of Am., 885 F.2d 683, 695 (10th Cir. 1989) (“One measure of the degree of market power is

the persistence of a firm’s ability to profitably charge monopoly prices.”). Meta’s economic

expert did not dispute Meta’s sustained high economic profits, which meets his textbook’s
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definition of monopoly power. CS §§ I.C.1.a, II.C.2.a.

       Declining product quality. Meta has profitably increased the quality-adjusted price of

Facebook and Instagram for consumers. CS § II.C.3. Despite recognizing that ad load is a tax

on user engagement and users dislike ads, Meta has significantly increased ad load on Facebook

and Instagram since the acquisitions. CS § II.C.3.a. Evidence also indicates declining quality

for both apps—i.e., an increase in quality-adjusted price—across multiple other product quality

dimensions, including access to friends-and-family content, privacy, integrity, reliability, and

overall satisfaction. CS §§ II.C.3, IV.C. Unsurprisingly, user sentiment has declined, but Meta

has failed to make improvements, instead favoring higher profit. CS § II.C.3.c. This constitutes

direct evidence of monopoly power over PSNS. United States v. Dentsply, 399 F.3d 181, 191

(3d Cir. 2005) (price increases and high profits were evidence of monopoly power); McWane,

783 F.3d at 832 (same).

       Price discrimination targeting inelastic demand and other signs of inelastic demand.

As noted above, Meta engages in price discrimination by exploiting differences in users’

elasticities of demand for Meta’s PSN services to set a higher quality-adjusted price for more

inelastic users. Supra § II.A.3; CS § II.C.4.b. Other evidence indicates Meta’s ability to exploit

inelastic user demand, which likewise directly demonstrates consumers’ lack of alternatives and

is direct evidence of Meta’s monopoly power. Supra §§ II.A.3, I.B.2.d; CS § II.C.4; see Whole

Foods, 548 F.3d at 1038 (price discrimination against inelastic customers is a vehicle to “extract

monopoly profits”).

       Power to exclude. Meta and its experts concede Meta’s monopoly power by openly

flaunting the claim that Meta could have crushed Instagram, or another threatening rival, by

sacrificing beneficial engagement such as cross-posting between Instagram and Facebook, which



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consumers value. See Mot. at 40; CS § II.C.6. The ability to crush a rival at will is plainly

evidence of monopoly power. See FTC v. Surescripts, LLC, 665 F. Supp. 3d 14, 47 (D.D.C.

2023) (quoting Am. Tobacco Co. v. U.S., 328 U.S. 781, 811 (1946)) (“[T]he Supreme Court has

noted that ‘the material consideration in determining whether a monopoly exists is not that prices

are raised and that competition actually is excluded but that power exists to raise prices or to

exclude competition when it is desired to do so.’”); Dentsply, 399 F.3d at 189-90 (ability to

exclude rivals and lack of effective entry provided evidence of monopoly power).

       The foregoing direct evidence forecloses summary judgment in Meta’s favor. Re/Max

Int’l, Inc. v. Realty One, Inc., 173 F.3d 995, 1016 (6th Cir. 1999) (summary judgment dismissing

Section 2 claim reversed due to evidence of “actual control over prices or actual exclusion of

competitors”). Meta’s legally baseless arguments to the contrary ignore the record evidence.

       First, Meta’s argument that “substantially all of its profits come from sales of

advertising,” Mot. at 30, is specious because Meta earns the vast majority of its revenue and

profits because consumers use its PSN apps—Facebook and Instagram. CS ¶¶ 1437-39; see also

CS ¶¶ 1472-73 (Meta loses vast sums                        on its “Metaverse” efforts). Thus,

Meta’s high profits are materially attributable to power over users of PSN services, and Meta

identifies no evidence that it possesses market power over advertisers on its PSN apps—indeed,

Meta’s experts expressly disavow that Meta has such power. CS ¶¶ 946, 1470. By disclaiming

any ability to exercise market power over advertisers, Meta confirms that Meta’s high profits are

materially attributable to consumers of its PSN apps. See CS ¶¶ 1467-70. Further, extensive

evidence—much of it undisputed—indicates that Meta’s high profits are associated with its

ability to exploit inelastic consumer demand, as opposed to any power that Meta may possess

over advertisers. See supra § II.A.3; CS §§ II.C.2.b, II.C.5. This evidence likewise refutes



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Meta’s suggestion that its high profits may be a result of “superior efficiency” rather than an

exploitation of inelastic consumer demand, an assertion that is in any event unsourced and

unsupported by any evidence. Mot. at 30.

       Second, Meta’s insistence that the FTC define a specific “competitive level” for prices or

quality finds no support in controlling law and ignores the import of the record evidence. Mot. at

24-26. Cases finding supra-competitive pricing did not define a specific “competitive” price, but

rather observed pricing that was insulated from competitive constraints and/or paired with high

profits. See Dentsply, 399 F.3d at 187 (price increases plus high profits, indicating a firm “sets

prices with little concern for its competitors”); McWane, 783 F.3d at 832 (price increases

unbothered by presence of a small rival and with high profits); see also Microsoft, 253 F.3d at 58

(setting price “without considering rivals’ prices” is “something a firm without a monopoly

would have been unable to do”). Here, there are both high profits and lack of competitive

constraints. CS §§ II.C.2 (high profits), II.C.3-5, IV.B-C (price increases and inelastic demand).

       Indeed, ignoring Meta’s high profits repeats the error of the Cellophane fallacy case by

failing to recognize that high profits indicate that a defendant’s prices (and price increases) are

above “competitive levels.” See CS ¶ 1298 (describing error of majority opinion in du Pont); du

Pont, 351 U.S. at 422 (1956) (C.J. Warren, dissenting) (finding defendant’s price increases and

“great profits” “leave no room for doubt that it had power to control the price of cellophane”).

Further, having neutralized Instagram as a competitive constraint, Meta proceeded to increase

quality-adjusted prices on Facebook and Instagram, including by ramping up ad load on

Instagram, which directly indicates pricing above a competitive level—i.e., that Meta is pricing

at an anticompetitive level it could not have achieved without removing Instagram as a

competitive constraint. CS §§ III.D.1, IV.B.



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       This evidence robustly answers Meta’s request for direct evidence, but to the extent that

Meta still insists on comparisons, see Mot. at 27-29, that evidence also abounds and is adverse to

Meta. CS ¶ 1498 (Meta’s internal user sentiment score benchmarking Meta against other tech

brands is declining); CS ¶¶ 1992-94 (Meta scores worse than other online services on privacy);

CS ¶ 1998 (highest privacy penalty in FTC history); CS § II.C.2.a (extraordinary profits along

multiple comparators).

       Finally, Meta’s remaining arguments are equally unavailing. Meta half-heartedly

suggests that it cannot be exercising market power because it offers its apps for “free.” Mot. at

25. But the fact that a firm can exercise market power despite charging a monetary price of zero

is non-controversial, and even Meta’s economic expert declined to argue Meta’s point. CS ¶¶

1433-37. In the same vein, Meta also suggests that (i) an app’s growth in usage, ipse dixit,

indicates that the quality-adjusted price for the app is declining, and that (ii) growth in the size of

the PSN services market over the last decade means it has not restricted output and thus does not

have monopoly power. Mot. at 2, 26-27, 30. This first assertion is unsourced (having

mischaracterized testimony of the FTC’s economic expert, see Mot. at 30) and wrong as a matter

of economics. FTC SGI ¶ 130.

       The second point is unavailing because while reduced total market output over time can

be an indicator of monopoly power, it is not required. Surescripts, 665 F. Supp. 3d at 47

(“Courts have held that the existence of so-called ‘calling cards’ of a competitive market, such as

falling prices and increased output, do not by themselves negate the existence of monopoly

power as a matter of law.”). This point is basic but important: monopoly power routinely

coexists with other factors that are driving increased demand, causing total market output to

increase even as a firm exercises monopoly power. CS ¶¶ 1542-56; see Allen-Myland, Inc. v.



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Int’l Bus. Mach. Corp., 33 F.3d 194, 21011 (3d Cir. 1994) (observing that if proof of declining

total output were required “a great many defendants with market power, such as Alcoa in the

1920s and perhaps even the former AT&T telephone monopoly, could be insulated from antitrust

attack.”); See Microsoft Findings, 84 F. Supp. 2d 9 at ¶ 23 (increasing PC shipments would be

consistent with exercise of monopoly power); Microsoft, DOJ Trial Exs. 2082-83, available at

https://www.justice.gov/sites/default/files/atr/legacy/2006/03/03/2082.pdf,

https://www.justice.gov/sites/default/files/atr/legacy/2006/03/03/2083.pdf (PC shipments

increased substantially over the relevant period); du Pont, 351 U.S. at 422 (C.J. Warren,

dissenting) (noting “cellophane enjoyed phenomenal growth” during period du Pont now

understood to be exercising monopoly power).

       Here there is ample explanation for why usage of PSN services has increased over the

last decade: the explosion in consumer use of smartphones has significantly expanded use of

online services generally. CS ¶ 1542(c). The cases speak of “restricted output,” see Broadcom,

501 F.3d at 307, and do not (as the foregoing underscores) demand proof of a declining market

size. Here, there is direct evidence Meta’s monopoly power has suppressed output for PSN

services: Meta’s underinvestment in friends and family sharing and other degradations of product

quality have caused rising user dissatisfaction on Facebook and Instagram and suppressed user

engagement. These are hallmarks of monopoly power. CS §§ II.C.5, II.C.7.

II.    Meta’s Acquisitions of Instagram and WhatsApp Constitute Exclusionary Conduct
       that Harmed Competition and Consumers

       Section 2 condemns monopoly power maintained through “exclusionary conduct ‘as

distinguished from growth or development as a consequence of a superior product, business

acumen, or historic accident.’” Microsoft, 253 F.3d at 58 (quoting Grinnell, 384 U.S. at 571).

That is what the extensive evidentiary record shows here.

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       Meta acquired Instagram and WhatsApp rather than responding to them by competing on

the merits, eliminating them as competitive constraints and depriving consumers of the benefits

that flow from competition. As the Court has recognized, it is “well established” that a

monopolist that maintains its power through the acquisition of an actual or potential rival does

not engage in “competition on the merits.” Facebook I, 560 F. Supp. 3d at 31-32; Facebook II,

581 F. Supp. 3d at 53 (“no shortage of authorities” establish that such acquisitions represent “a

clear § 2 offense”) (internal citation omitted). Here, the evidence establishes that Instagram and

WhatsApp were actual or potential rivals to Meta for PSN services, infra § II.A, and Meta’s

acquisitions—not competition on the merits—accomplished their “exclusion,” by eliminating

them as independent actors. See Sun Newspapers, Inc. v. Omaha World-Herald Co., 1983-2

Trade Cas. (CCH) P65,522 (D. Neb.), modified on other grounds and aff’d per curiam, 713 F.2d

428 (8th Cir. 1983) (“the acquisition of potential competitors . . . could be termed exclusionary,

because it removes one source of competition and helps erect a greater barrier to entry by further

cementing the monopolist’s market position . . .”); see also Antitrust Law ¶ 701b (the acquired

firm “can properly be said to be ‘excluded.’”).

       The record also leaves no doubt that Meta’s conduct harmed the competitive process. A

monopolist harms the competitive process when it engages in “conduct that is reasonably

capable of making a significant contribution” to maintaining its monopoly power, and “the

exclusion of nascent threats” through means other than competition on the merits represents such

conduct. Microsoft, 253 F.3d at 79. Here, the FTC has far stronger evidence than was available

in Microsoft: Meta harmed the competitive process and protected its monopoly power by

eliminating completely—not just interfering with—the competition that Instagram and

WhatsApp “might otherwise” have presented. See id; Sun Newspapers, 713 F.2d at 429.



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        The only remaining question is whether Instagram and WhatsApp “reasonably

constituted nascent threats at the time [Meta] engaged in the anticompetitive conduct at issue,”

enabling them to contribute significantly to the maintenance of Meta’s monopoly power. Id.

Copious evidence here shows that the answer is “yes.” Infra § II.A.

        Meta attempts to invent novel presumptions and requirements, which boil down to a

claim that the FTC must precisely recreate the world but-for the challenged acquisitions. All of

Meta’s arguments flout both Supreme Court and Circuit court precedent, and thus fail. Infra

§ III.C.1. Accordingly, the Court should deny Meta’s motion for summary judgment and reject

its attempt to avoid a trial.

        A. Instagram and WhatsApp Represented Significant Competitive Threats to Meta
           in PSN Services

        Meta’s Motion calls the threat posed to Meta by Instagram a fairy tale and is even more

dismissive of the threat posed by WhatsApp. Mot. at 41. Yet, during the shift to mobile, Meta’s

apex executives and other well-informed industry participants held a different view. As

described below, Meta executives’ contemporaneous documents and other reliable evidence

establish that Instagram and WhatsApp were serious competitive threats—Instagram as an actual

PSN competitor and WhatsApp as a potential PSN rival—to Meta’s dominance in PSN services.

As such, Meta’s acquisition of Instagram and WhatsApp are “properly classified as

anticompetitive” under Section 2. See Facebook II, 581 F. Supp. 3d at 53 (quoting Antitrust Law

¶ 701a).

                1. Instagram Was a Direct PSN Rival that Posed a Significant Threat to Meta’s
                   PSN Services Monopoly

        Meta’s acquisition of Instagram targeted a participant in the relevant market: a rival

“social network” relied on by users to share life events and “share their daily lives . . . with

friends and family,” that had emerged as “the clear leader in user experience and photo sharing.”

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CS ¶¶ 1595, 1644; see CS §§ III.B.1-2. Meta suggests that Instagram threatened Meta only

within a limited sphere of mobile photo-sharing rather than PSN services, Mot. at 37, but the

evidence belies that claim. This includes evidence indicating that: prior to the acquisition,

Instagram served demand for friends and family sharing and had the requisite functionality to

serve that demand (CS §§ II.A.3.c, II.A.4.a.2, II.A.4.b, III.B.1); Meta recognized Instagram as

such (CS § III.B.2.b); Instagram had “escape velocity” and was achieving outstanding growth,

even rivaling Facebook in some engagement metrics on mobile (CS §§ III.B.1.b, III.B.2.b,

III.B.5); and Meta recognized Instagram as a significant threat as a PSN rival, and was already

reacting to Instagram’s competitive pressure (CS §§ III.B.2, III.B.4).

       This evidence is no fairy tale. Indeed, while Meta suggests that Instagram would have

needed to grow or evolve in order to “rise to competitive significance,” Mot. at 41, in truth

Instagram had already achieved that before being purchased by Meta. Less than four months

after Instagram launched Mr. Zuckerberg noted the app was “growing quickly,” and instructed

another top executive to “track this closely.” CS ¶ 1670. In response, Meta’s “photos team”

“focused almost exclusively on a new mobile photo app as we gawk at Instagram’s simple

photo-sharing app taking off,” and over the coming months Mr. Zuckerberg and other executives

repeatedly lambasted relevant employees for slow progress on the project, citing Instagram as the

primary motivation. CS § III.4.d, ¶¶ 1671, 1679(b) (“[W]hy is mobile photos app development

moving so slowly? We still are getting our ass kicked by Instagram.”); CS ¶ 1679(c) (“So when

is the app going to ship?” “If you’re asking whether it’s important to ship soon, then the answer

is definitely yes. In the time it has taken us to get ou[r] act together on this Instagram has

become a large and viable competitor to us on mobile photos, which will increasingly be the

future of photos.”).



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       Moreover, the projected “new mobile photo app”—Facebook Camera—represented

Meta’s effort to compete with Instagram by offering a more attractive mobile PSN service. CS

§ III.B.4. Facebook Camera provided a mobile app interface for Facebook, in which users would

log in with their Facebook accounts, and could take photos, add filters, post photos to their friend

network on Facebook, and view photos their friends had posted on Facebook. CS §§ III.B.4.c,

III.B.4.e. Notably, as a direct result of acquiring Instagram, Meta sidelined and then abandoned

its Facebook Camera efforts, redirecting resources elsewhere. CS § III.D.1.A.

       Meta’s direct competitive response to Instagram’s innovation and growth thus provides

clear evidence that, at the time, Instagram had achieved “competitive significance.” Notably, the

threat posed by Instagram was far more direct and immediate than the threats at issue in

Microsoft. See infra § III.B. There, the excluded threats did not participate in the relevant

market for operating systems, and the district court expressly found “insufficient evidence” that

“Navigator and Java already would have ignited genuine competition in the [relevant] market.”

Microsoft Findings, 84 F. Supp. 2d 9 at ¶ 411. The Microsoft court nonetheless imposed liability

based on the potential that Navigator and Java might in the future “ignite[] genuine competition”

in the relevant market. Id. Here, evidence indicates that Instagram had already ignited

competition in the PSN services market.

               2. WhatsApp Was a Potential PSN Rival that Posed a Significant Threat to
                  Meta’s PSN Services Monopoly Power

       Meta’s acquisition of WhatsApp similarly constitutes exclusionary conduct under Section

2 because, prior to the acquisition, WhatsApp was a significant potential PSN rival. Contrary to

Meta’s assertion, Mot. at 43, a monopolist’s acquisition that frustrates potential entry is a Section

2 violation. See Grinnell, 384 U.S. at 576 (finding one of Grinnell’s acquisitions exclusionary

under Section 2 even though Grinnell did not yet compete in that service line, because the


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acquisition “eliminated [the] alternative” of Grinnell’s entry and “eliminated any possibility of

an outbreak of competition”); Sun Newspapers, 1983 WL 1853 at *14, 23 (preliminary

injunction on grounds that monopolist’s acquisitions of a small existing competitor and a

potential entrant violated Section 2); see also LePage’s Inc. v. 3M, 324 F.3d 141, 159 (3d Cir.

2003) (“When a monopolist’s actions are designed to prevent one or more new or potential

competitors from gaining a foothold in the market by exclusionary, i.e., predatory, conduct, its

success in that goal is not only injurious to the potential competitor but also to competition in

general.”).

       WhatsApp, like Instagram, constituted a more direct threat to Meta’s PSN services

monopoly power than Java and Navigator posed to Microsoft’s monopoly power. Meta and

other industry participants were well aware that WhatsApp was well-positioned to pivot into

PSN services from mobile messaging, and that it was better positioned to offer PSN services in

the United States than other apps such as WeChat, LINE, and Kakao. CS §§ III.C.2.b, III.D.2.a.

Unlike Netscape and Java, WhatsApp did not require the assistance of other firms to accomplish

this pivot, although acquisition by another firm offering PSN services,

         was a realistic and well-recognized possibility—and one which Meta feared. CS ¶¶

1811-19, 1884. Meta’s acquisition of WhatsApp was thus anticompetitive, as a monopolist’s

“acquisition of any firm that has the economic capabilities for entry and is a more-than-fanciful

possible entrant is presumably anticompetitive unless the acquired firm is no different in these

respects from many other firms.” Antitrust Law ¶ 701d.

       Extensive evidence shows that these conditions are plainly satisfied. Initially, Meta

responded to the threat posed by WhatsApp and other OTT mobile messaging apps by launching

Facebook Messenger, and investing heavily in it in an effort to establish a competitive moat and



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hinder entry into PSN services via mobile messaging. CS ¶¶ 1718-22. When Meta’s efforts to

compete on the merits proved insufficient to address the threat that a mobile messenger would

pivot to offer PSN services, it acquired its potential rival WhatsApp, thereby insulating itself

from competitive entry. CS §§ III.C.1.b, III.C.3. Since that time, Meta has also

                            to maintain the competitive moat protecting its PSN services

monopoly. CS ¶¶ 1888, 2435-37. Meta thus accomplished the anticompetitive “reinforcement

of the monopolist’s position via the assets acquired.” Antitrust Law ¶ 701d.

       As with Instagram, contemporaneous documents clearly show that Meta’s executives

were aware of, and frightened by, the threat posed by WhatsApp, and moreover, that this threat

related to PSN services. The evidence indicates, among other things, that:

       •   During the shift to mobile, “OTT” mobile messaging apps emerged that had more

           advanced functionality than SMS messaging (CS §§ III.C.1.a, III.C.2.b.1);

       •   Meta identified an OTT mobile messaging app pivoting into social networking as a

           significant threat to Meta’s core use, and Meta knew that three messaging apps in

           Asia (WeChat, Kakao, and LINE) had made that pivot (CS § III.C.1.c);

       •   WhatsApp was (as Meta recognized) the leading global OTT mobile messaging app,

           and superior to Meta’s own mobile messaging effort, Facebook Messenger, in both

           performance and usage (CS § III.C.2.b.3);

       •   Meta and others considered WhatsApp well-positioned to make the mobile

           messenger-to-PSN services pivot, either on its own or through acquisition

                                       (CS §§ III.C.2.b.3-4);

       •   Meta completed a hurried effort to purchase WhatsApp in February 2014

                                                                       (CS ¶¶ 1814, 1832-34,


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             1837); and

       •     Meta paid billions of dollars above any contemporaneous valuation to purchase

             WhatsApp and has subsequently                           operating WhatsApp,

             underscoring the lack of a genuine business rationale for the acquisition other than

             preventing WhatsApp from entering competition with Facebook and maintaining a

             competitive moat (CS ¶ 1838).

       Meta claims the FTC is “imagin[ing]” WhatsApp pivoting into PSN services, but

evidence of the pivot comes from Meta’s own files and other industry participants. In early

2013, Mr. Zuckerberg recognized messaging as “the biggest threat we face today,” (CS

¶¶ 1807(f), 1887(c)) and informed Meta’s board (see CS ¶ 1802(g)) of the same reality he had

already acknowledged to others: WeChat, LINE, and Kakao were “trying to build social

networks and replace us.” CS ¶ 1806(e). And while WhatsApp had not yet used messaging “as

a springboard to build [a] more general mobile social network[]” (CS ¶¶ 1799(a), 1807(b),

2569(c)), Meta was plainly concerned WhatsApp might do so (CS § III.C.2.b) and no evidence

suggests that WhatsApp was not capable of building—as others had—“additional other sharing

features to become much broader networks than even just messaging.” CS ¶ 1799(b). To the

contrary,

                                                                                       CS

¶ 1794(a).                                 CS ¶¶ 1813, 1815.

       Meta attempts to downplay the pivot threat posed by WhatsApp by suggesting it would

require reversing purported WhatsApp decisions “not to pursue growth in the U.S.” and to

“change its product strategy” related to adding features or advertising. Mot. at 43-44. But this

mischaracterizes or ignores material portions of the record. WhatsApp had not made a “decision



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not to pursue growth” in the United States, Mot. at 43, CS ¶ 1756, FTC SGI ¶ 781, and

WhatsApp was positioned to continue to grow in the United States. CS §§ V.F.1, III.C.2.a.1-2;

FTC SGI ¶¶ 774, 776, and 781. In Meta’s own estimation, leadership among OTT apps in the

United States was still “up for grabs” (CS ¶ 1753) and Mr. Zuckerberg recognized that if

WhatsApp were to “build substantive features beyond just making SMS free, that could be

enough for them to tip markets like the US.” CS ¶ 1807(i); see also CS § III.C.3.

       WhatsApp was better positioned than WeChat, LINE, or Kakao to “tip” the United States

market because, among other reasons, WhatsApp had a global focus and greater market

penetration in the United States. CS ¶¶ 1739, 1750. In 2012—just before Snapchat added

Stories and competed directly with Meta in PSN services—WhatsApp trailed only Facebook

Messenger in iPhone installations in the United States among OTT cross-platform messaging

apps. CS ¶ 1750(c). And WhatsApp was more threatening to Meta than iMessage because it

was widely used on both Android devices and iPhones,

                                           See CS ¶¶ 1821-23.

       Further, as Meta was aware, WhatsApp had multiple credible alternative suitors

                                                           CS §§ III.C.2.b.4, III.D.2.a. For

example,




           CS ¶¶ 1812-14.

           (CS ¶¶ 1816-20)



                CS ¶ 1819; see also CS ¶ 1820.



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       Meta ignores all the foregoing evidence and focuses solely on WhatsApp’s founders’

testimony regarding WhatsApp’s trajectory if Meta had not acquired it. Mot. at 46. As an initial

matter, this testimony fails to establish the absence of a genuine dispute as to whether WhatsApp

“reasonably constituted [a] nascent threat[,]” Microsoft, 253 F.3d at 79, in light of significant

evidence suggesting that WhatsApp was capable of pivoting and possessed every economic

incentive to do so. CS § III.C.2.b.4. Absent Meta’s ownership, WhatsApp was

                                                 CS ¶¶ 1784-86,

                                             CS ¶¶ 1787-88; see also FTC SGI ¶¶ 787, 790.

Indeed, Meta’s own experts and the FTC’s experts agree that WhatsApp needed to monetize

more effectively to operate a sustainable business and earn a return for its investors. CS ¶¶

1789-91. Evidence indicates that

                                                                                      . CS ¶¶

1792-98.

       For similar reasons, even if the WhatsApp founders sincerely believe—speaking after

Meta’s acquisition—that they would not on their own have caused WhatsApp to pivot into PSN

services, this does not establish that a pivot was unlikely. Sustainable monetization is ultimately

not optional. See CS ¶¶ 1784, 1884. Further, even if WhatsApp’s founders would not have

made the choice on their own, the decision was not theirs alone—particularly as WhatsApp

would need additional funding to cover operating costs moving forward. FTC SGI ¶¶ 787, 790.



                                                             (CS ¶ 1794)



                                                                  (CS ¶¶ 1787-89)—



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                                                                                CS ¶¶ 1792-93.

       WhatsApp’s founders had also demonstrated, by virtue of selling to Meta, that they were

willing to sell and thereby relinquish control, and no evidence suggests they

would have sold only to Meta. CS § III.C.2.b.4; CS ¶ 1884. Meta’s suggestion to the contrary

(Mot. at 46) is both unsupported by the record, and tainted by its own anticompetitive conduct:

the exorbitant premium paid by Meta boxed out other acquirers, and its willingness to

        by running WhatsApp without meaningful monetization (unlike the imperative that

would exist in the but-for world), underscores both Meta’s lack of a serious business rationale for

the acquisition other than foreclosing competition and its subsequent anticompetitive use of

WhatsApp as a moat to prevent other entry. CS § III.D.2.b.

       In short, prior to WhatsApp’s acquisition, well-informed market participants including

Meta’s own executives thought that it was entirely plausible that WhatsApp would achieve

success in the United States and pivot into PSN services, either on its own or as the result of an

acquisition. Such evidence shows that WhatsApp was a “more than fanciful” entrant into the

U.S. PSN services market and was not “no different in these respects from many other firms.”

Antitrust Law ¶ 701d. It also unquestionably establishes a genuine dispute regarding

WhatsApp’s “hypothetical technological development in a world absent” Meta’s acquisition, and

forecloses summary judgment in favor of Meta: indeed, even following a trial on the merits,

Meta must “suffer the uncertain consequences of its own undesirable conduct.” Microsoft, 253

F.3d at 79 (citation omitted).

       B. Meta’s Acquisitions of Instagram and WhatsApp Contributed to the
          Maintenance of Meta’s PSN Monopoly

       Meta’s Motion advances several erroneous arguments that share a common flawed

theme: that no reasonable fact-finder could infer a causal connection between the relevant


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acquisitions and harm to “competition and consumers.” Mot. at 31. For example, Meta

incorrectly argues that the FTC must provide evidence that “it would be better to have additional

competitors” or evidence that Instagram “would have transformed competition” in the relevant

market, Mot. at 38, 41; and Meta incorrectly suggests that the FTC must show that WhatsApp

would “become a colossal success” after pivoting into PSN services in the United States. Mot. at

41, 43. This section demonstrates that Meta’s arguments fail because they ignore record

evidence and controlling Circuit authority; the next section addresses Meta’s erroneous demands

for evidence of increased prices or reduced output. Infra § II.C.

       At the outset, Meta’s arguments defy settled principles that a monopolist’s exclusion of

actual or potential competitors through conduct that is not merits competition itself harms the

competitive process. See LePage’s, 324 F.3d at 159 (successful exclusion “is not only injurious

to the potential competitor but also to competition in general”). As detailed above, ample

evidence indicates that Instagram and WhatsApp were actual and potential PSN rivals, and

Meta’s acquisitions extinguished their ability to compete with Facebook. Supra § II.A.

       Meta further presses for particularized evidence that Instagram and WhatsApp would

have become large or “transformation[al]” PSN rivals absent Meta’s acquisitions. But this is not

the law, and plaintiffs are not required to demonstrate that an excluded rival would have

achieved any particular share of the relevant market. Hecht v. Pro-Football, Inc., 570 F.2d 982,

991 (D.C. Cir. 1977) (“To hold otherwise could effectively mean that a defendant is entitled to

remain free of competition unless the plaintiff can prove, not only that [the excluded firm] would

be a viable competitor, but also that [it] and defendant both would survive.”); see also Antitrust

Law ¶ 701c (“[A monopolist’s] acquisition [of even a small competitor] should be prevented

even if we assume that the small firm would probably continue to play only a very minor role or,



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indeed, be shut down. To find a §2 monopoly is necessarily to declare the preciousness of any

viable rival.”); id. ¶ 651g (“[N]o government seriously concerned about the evil of monopoly

would condition its intervention solely on a clear and genuine chain of causation from

exclusionary act to the presence of monopoly.”); see CS ¶ 2054.1 (Instagram could benefit

competition and consumers even if it were smaller in the but-for world than today).

       Indeed, in Microsoft, the Court of Appeals clearly instructed that a Section 2 plaintiff is

not required “to reconstruct the hypothetical marketplace absent a defendant’s anticompetitive

conduct” and that “[w]e may infer causation when exclusionary conduct” is aimed at “nascent

threats.” Microsoft, 253 F.3d at 79. Accordingly, the Court held that “the question in this case is

not whether Java or Navigator would actually have developed into viable platform substitutes”

but rather whether “exclusion of nascent threats is the type of conduct that is reasonably capable

of contributing significantly to” the defendant’s continued monopoly power and whether Java

and Navigator “reasonably constituted nascent threats at the time” of Microsoft’s conduct. Id.

       In turn, the Court of Appeals held that Java and Navigator constituted nascent threats to

Microsoft, relying on the district court’s factual findings that they “showed potential as

middleware platform threats.” Id. at 79 (citing Microsoft Findings, 84 F. Supp. 2d 9 ¶¶ 68-77).

Notably, the district court found that Netscape and Java had only “the potential to weaken the

applications barrier to entry” protecting Microsoft’s monopoly, Microsoft Findings, 84 F. Supp.

2d 9 ¶ 68 (emphasis added), and Microsoft’s monopoly power could not be dissipated until the

conclusion of a multi-step process requiring innovation from numerous separate actors: (i) Java

would need to improve “to such an extent that”; (ii) many (unidentified and not yet extant) other

developers would be motivated to create “many full-featured, end-user-oriented applications”;

(iii) and thus “open[] the way” for still other (unidentified and not yet extant) developers to



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invent “non-Microsoft operating systems” that might eventually “emerge as acceptable

substitutes for Windows.” Id. ¶¶ 74, 77.

       The district court expressly found that the end result of this multi-actor, multi-stage, and

hypothetical process was uncertain, and that plaintiffs had failed to establish that the process

would have actually “ignited genuine competition.” Id. ¶ 77 (“[T]hese middleware technologies

have a long way to go before they might imperil the applications barrier to entry.”); id. ¶ 411

(“There is insufficient evidence to find that, absent Microsoft’s actions, Navigator and Java

already would have ignited genuine competition in the [relevant] market.”); see also United

States v. Microsoft Corp., 87 F. Supp. 2d 30, 44 (D.D.C. 2000) (rev’d in part on other grounds)

(“[T]he evidence does not prove that they would have succeeded absent Microsoft’s actions[.]”).

       Here, the evidence is much stronger, and readily establishes that Instagram and

WhatsApp were PSN competitive threats, and that their exclusion contributed to Meta’s

maintenance of monopoly power. CS § III. Indeed, both Instagram and WhatsApp posed a

dramatically more imminent and direct threat to Meta’s PSNS monopoly than Java and

Navigator posed to Microsoft’s monopoly power. As noted already, evidence indicates that

Instagram was already triggering a direct competitive response from Meta, and that Meta

recognized that Instagram threatened to shift engagement from Facebook to Instagram’s “parallel

network.” CS ¶ § III.B.2. And WhatsApp was the leading global OTT messaging app, had an

imperative to find a sustainable monetization path, and Meta,                         and others

                               had identified a PSN pivot as an attractive path. CS § III.C.2.

Further, extensive evidence shows that Meta’s executives were deeply concerned by Instagram’s

rapid growth (CS § III.B.2) and were “all terrified” by the threat of a mobile messaging pivot and

specifically lost sleep over the threat posed by WhatsApp. CS § III.C.2.b.1. The Court of



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Appeals relied on similar evidence in Microsoft. Microsoft, 324 F.3d at 79 (citing Microsoft

Findings, 84 F. Supp. 2d 9 ¶¶ 68-77); see Microsoft Findings, 84 F.Supp.2d 9 ¶¶ 72, 75, 77

(evidence that Microsoft executives were “deeply concerned,” deeply worried,” and perceived

“reason to dread the increasing use of Navigator”).

       Meta attempts to disparage the acquired firms’ prospects in the but-for world, suggesting

they could find themselves in a “graveyard” of “promising startups.” Mot. at 41. This assertion

contradicts the record evidence, and is irrelevant as a matter of law because Metas fails to either

argue or establish that it can meet the requirements of the failing company doctrine. The

Supreme Court has expressly held that the “failing company doctrine” applies to Section 2

claims involving acquisitions, and that “[t]he burden of proving that the conditions of the failing

company doctrine have been satisfied is on those who seek refuge under it.” Citizen Pub. Co. v.

United States, 394 U.S. 131, 136, 138-39 (1969).

       The Supreme Court has further “narrowly confined the scope of the doctrine.” Mich.

Citizens for an Indep. Press v. Thornburgh, 868 F.2d 1285, 1288 (D.C. Cir. 1989), aff’d, 493

U.S. 38 (1989) (citation omitted). Meta does not even argue that it can establish any of the three

requirements of the doctrine, which are: (1) the allegedly failing firm must face “the grave

probability of a business failure,” United States v. Gen. Dynamics Corp., 415 U.S. 486, 507

(1974) (citation omitted); see also Dr. Pepper/Seven-Up Cos., Inc. v. FTC, 991 F.2d 859, 864

(D.C. Cir. 1993) (firm must be “in imminent danger of failure”); (2) the prospects of successful

reorganization under the bankruptcy laws must be “dim or nonexistent,” Citizen Pub. Co., 394

U.S. at 138; and (3) that Meta was “the only available purchaser.” Id; see also Sun Newspapers,

1983 WL 1853 at *18 (“[D]efendants point out that the…papers were a losing operation prior to

the acquisition…and have since been returned to financial health. Nearly any monopolist could



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make a similar argument[.]”).

          Meta plainly cannot establish any of these requirements, as both firms were growing

rapidly, faced no danger of bankruptcy, and other acquirers were viable candidates. CS §§

III.B.1(e), III.C.2(b)(4). Moreover, the failing company doctrine conclusively rebuts Meta’s

assertion that the prospect that “a different buyer might have emerged” cannot form the basis for

condemning an acquisition. See Mot. at 46-47. It is Meta’s burden, not the FTC’s, to show that

no different buyer might have emerged. See United States v. Diebold, Inc., 369 U.S. 654, 655

(1962).

          Indeed, while Microsoft underscores that the FTC does not need to establish that

Instagram and WhatsApp would have in fact have succeeded against Facebook as PSN

competitors in the but-for world, there is ample evidence indicating that is the case. Meta has

admitted that pre-acquisition Instagram had exceptionally attractive features and “from the outset

[was] praised as exemplifying the speed, reliability, and simplicity necessary to succeed in the

mobile environment.” CS ¶ 1603(b). Instagram grew like wildfire in its 18 months of existence,

despite being available only to iPhone users, and its growth exploded when it launched on

Android devices just days before Meta acquired it. CS § III.B.1.b. Mr. Zuckerberg himself at

the time believed that Instagram was a “mega-network” and was “on the path to win” had Meta

not acquired it, with “very talented product leaders” at the helm. CS ¶¶ 1635(e), 1645. Other

similar evidence abounds. See CS §§ III.B.1-2, III.B.5.

          Relatedly, Meta fails to support, and evidence flatly contradicts, its suggestion that

Instagram had “no plan to make money” and experienced significant “service outages and spam

attacks.” Mot. at 40. Mr. Systrom testified that Instagram’s “monetization plan was always

advertising” (CS ¶ 2109) and evidence indicates both that Instagram was not experiencing



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critical integrity or infrastructure challenges pre-acquisition and that Meta’s ownership was not

necessary for Instagram to continue to grow and manage monetization, integrity, and

infrastructure. CS §§ V.C-V.E.

        Similarly, WhatsApp was thriving and well-financed. CS §§ V.F-V.J. And as already

discussed, Meta believed it to be plausible that WhatsApp could pivot either on its own or in

cooperation with an acquirer, and other evidence indicates this was a viable and likely path. CS

¶ III.C.2.b. Further, like Instagram, WhatsApp had no material growth, integrity, or

infrastructure problems prior to its acquisition, and did not need to be acquired by Meta to

succeed on any of those fronts CS §§ V.F-V.J.

        Further, Meta overlooks evidence that the acquisitions served to bolster barriers to entry

into PSN services—an independent way the acquisitions protected Meta’s monopoly beyond the

harm from removing both firms ability to compete with Meta directly. CS §§ III.D.1.c, III.D.2.b;

see Microsoft, 324 F.3d at 55 (Microsoft’s conduct helped prevent erosion of “applications

barrier to entry”).

        Finally, Meta suggests that in the but-for world it might have tried to stunt Instagram’s

growth by eliminating “growth drivers,” flaunting that Meta could have gone into “destroy

mode” had Instagram not accepted Meta’s acquisition offer. See Mot. at 40. Meta’s argument

here is problematic in several respects. To start, Instagram’s founder testified that he understood

that, but for the acquisition, Meta would have competed hard against Instagram (CS ¶ 1629) but

he did not believe Instagram’s survival or success depended on Meta (CS ¶ 2021). That Meta’s

acquisition of Instagram interrupted the reality that Meta would compete hard against Instagram

in the but-for world is a competitive harm of the acquisition, not a benefit, as Meta perversely

suggests.



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       Further, evidence indicates that consumers valued some of the mechanisms that Meta

suggests it might have cut off in the but-for world, such as the ability to cross-post between

Facebook and Instagram. Mot. at 40 (citing Meta’s SMF 655-69); CS ¶¶ 2029, 2035. While

Meta might not have a legal obligation to interoperate with actual or potential rivals, Meta’s

suggestion that it would harm consumers in the but-for world is not a procompetitive benefit of

the acquisition. See Microsoft, 253 F.3d at 59 (describing a procompetitive benefit as entailing

“greater efficiency or enhanced consumer appeal”). Moreover, Meta’s confident assertion that it

could have materially hampered a rival by refusing to cooperate with it serves only to emphasize

that it possessed the power to “exclude competition”—i.e., monopoly power. See supra § I.D.

       C. While Not Required, Ample Evidence Indicates that Meta’s Conduct Harms
          Consumers

       Meta erroneously asserts that the FTC must present evidence “consumer welfare would

be even greater” absent the transactions, and “prices above or output below competitive levels.”

Mot. at 32, 33, 43. This is unavailing both because it lacks any basis in law, and also because

ample evidence shows that Meta’s conduct has harmed consumers, including by allowing Meta

to increase the quality-adjusted price of Facebook and Instagram.

               1. Meta Misstates the Legal Standard Applicable to its Conduct

       Meta cites no authority suggesting that once a Section 2 plaintiff shows that a dominant

firm excluded nascent threats through exclusionary conduct, the plaintiff must further show a

change in price or output, or other specific change in consumer benefits. Consumer harm flows

inherently from a monopolist’s maintenance of its position through conduct that is not merits

competition. See Microsoft, 253 F.3d at 58 (exclusionary conduct is conduct that has an

“anticompetitive effect,” meaning it “harm[s] the competitive process and thereby harm[s]

consumers”) (italics in original, bolded emphasis added).


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       Indeed, a fundamental premise of Section 2 is that the anticompetitive acquisition or

maintenance of monopoly power is itself harmful to consumers. Am. Tobacco Co. v. United

States, 328 U.S. 781, 810-11 (1946). See also Antitrust Law ¶ 651e1 (emphasis added):

       Monopoly harms consumers . . . [M]onopolizing conduct harms consumers by
       creating monopoly, increasing its amount, or extending its duration. Thus an
       expectation of consumer harm must always be at the logical end of any
       determination that a particular act “monopolizes” and thus satisfies §2’s conduct
       requirement. But this is not the same thing as showing that consumer harm
       has in fact resulted from the challenged practice.

       Thus, when a Section 2 plaintiff shows that a monopolist maintained its monopoly via

conduct that is not competition on the merits, the plaintiff has satisfied its burden of showing

exclusionary conduct. See Microsoft, 253 F.3d at 65, 67 (DOJ’s showing of harm to

competition—through excluding competitive threats without merits competition—established

anticompetitive conduct); Dentsply, 399 F.3d at 191-96 (anticompetitive effect of monopolist’s

conduct was blocking growth of smaller rivals); LePage’s, 324 F.3d at 158-63 (anticompetitive

effect of monopolist’s conduct was foreclosing ability of rival to compete, “which harmed

competition itself”).

       An additional requirement that the plaintiff demonstrate precisely how the exclusionary

conduct impacted prices or output is particularly inappropriate in a monopoly maintenance case,

in which the very nature of the claim is that the monopolist has prevented competition from

emerging, thereby forestalling an improvement in market outcomes. See McWane, 783 F.3d at

839 (monopolist’s conduct constituted unlawful monopoly maintenance where it “stunted the

growth” of a rival, and plaintiff did not need to show the challenged program was “responsible

for [the observed] price behavior”); FTC v. Surescripts, LLC, 424 F. Supp. 3d 92, 103 (D.D.C.

2020) (“[T]he central question is whether . . . [the defendant] ‘harmed competition, not just a

competitor,’ by blocking entrants into the market.”) (citations omitted).


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       Section 2 cases involving acquisitions confirm this principle. The Court in Grinnell held

defendant’s acquisitions unlawful where they “eliminated any possibility of an outbreak of

competition that might have occurred . . . .” Grinnell, 384 U.S. at 576. The Grinnell Court did

not require an additional showing of consumer harm: it did not mention output effects at all, and

discussed price effects only to note that the defendant had to lower prices when it faced

competition, whereas it could raise them where it possessed monopoly power. See Grinnell, 384

U.S. 563 at 570; see also Credit Bureau Reports, Inc. v. Retail Credit Co, 358 F. Supp. 780, 791

(S.D. Tex. 1971), aff’d, 476 F.2d 989 (5th Cir. 1973) (holding acquisitions violated Section 2

without examining prices or output); Sun Newspapers, Inc., 1983 WL 1853 at *23 (preliminary

injunction where monopolist newspaper’s acquisitions of a small existing competitor and a

potential entrant violated Section 2); Tasty Baking Co. v. Ralston Purina, Inc., 653 F. Supp.

1250, 1271 (E.D. Pa. 1987) (preliminary injunction where monopolist baker’s acquisitions of

competitors violated Section 2). This parallels the evidence here that Meta invested more

heavily in its PSN offerings in the limited instances it faced PSN competition, and reduced its

investments and increased the quality-adjusted prices of its PSN offerings when competition was

eliminated. Supra § I.D; infra § II.C.2.

       Meta cites no case in which a monopolization claim failed because the plaintiffs

established anticompetitive conduct but did not prove output effects or consumer harm, and none

of Meta’s cited cases states or even implies that Section 2 plaintiffs have such a burden. Many

of Meta’s supporting cases involve Section 1 of the Sherman Act or the Robinson-Patman Act,

which, unlike Section 2, do not require a showing of monopoly power and the illicit creation or

maintenance of such power. See Mot. at 32-36.

       The cases Meta cites that do analyze Section 2 standards confirm that a Section 2 plaintiff



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must prove harm to competition, which is established here. In Google and Rambus, for example,

the plaintiffs failed to establish that the challenged conduct actually harmed competition. See

United States v. Google LLC, 2023 WL 4999901, at *21-25, 27 (D.D.C. Aug. 4, 2023) (granting

summary judgment as to certain conduct for which plaintiffs identified no evidence showing that

it harmed competition); Rambus Inc. v. FTC, 522 F.3d 456, 466-67 (D.C. Cir. 2008) (no

evidence showed that defendant’s behavior actually affected the standard-setting body’s

decision-making). In the others, none of which involved elimination of a competitive threat by

acquisition, plaintiffs failed to establish some other element of a monopolization claim. See Mot

at 34-36 (citing Flegel (failure to produce evidence of monopoly power); Roy B. Taylor Sales,

(same); Novell (failure to satisfy elements of refusal-to-deal claim); Virgin Atl. Airways (failure

to establish elements of predatory pricing and monopoly leveraging claims); Matsushita

(insufficient evidence to support “implausible” claim of a predatory pricing conspiracy)).

       Finally, Meta asserts that no “court has ever held that a firm violated Section 2” by

acquiring a potential competitor, incongruously citing cases brought under Section 7 of the

Clayton Act. Mot. at 43. As demonstrated above, Meta is wrong. Supra § II.A.2 (discussing

Grinnell and Sun Newspapers). Further, Meta provides no Section 7 analysis and fails to show

the absence of a triable issue even if Section 7 applied. See, e.g., FTC v. Polypore, 686 F. 3d

1208, 1215-16 (11th Cir. 2012) (acquisition that foreclosed entry and “ensured a continuation of

the high concentration” violated Section 7); United States v. Falstaff Brewing Corp., 410 U.S.

526, 531 (1973). At any rate, this is a Section 2 case, and Meta’s Section 7 cases are inapposite.

See Antitrust Law ¶ 701a (discussing “special case of mergers as unlawful monopolistic acts”).

Section 2 reaches anticompetitive acts by monopolists to exclude nascent threats (including

acquisitions), even when entry or disruption by those threats is not imminent or certain. See



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supra; Microsoft, 324 F.3d at 79; Grinnell Corp., 384 U.S. at 576; Antitrust Law ¶ 701d.

               2. Meta’s Continued Maintenance of Its Monopoly Harms Consumers

       Although the FTC is not required to make a showing of consumer harm, the record

contains abundant evidence that consumers were harmed by the acquisitions. CS § IV. Indeed,

consumers lost access to Facebook Camera as a direct result of its acquisition of Instagram, and

lost the benefits flowing from Instagram trying to appeal to users to “use Instagram instead” of

Facebook. CS § III.D.1. Instagram’s ad load has also increased significantly at Meta’s direction,

in a manner directly tied to Meta’s control: Instagram’s co-founder opposed two episodes of

material increases but his objections were overruled. CS § IV.B.2. Meta has also increased

Facebook’s ad load significantly since the acquisitions, aided by its ability to raise ad load on

Instagram in parallel. CS §§ II.C.3.a, IV.B, IV.C.2. Meta also removed growth engineers from

Instagram, hampering Instagram’s ability to grow, and chronically deprived Instagram of

resources to innovate and improve features. CS § IV.B.3.

       More fundamentally, the acquisitions contributed to the maintenance of Meta’s monopoly

power, insulating it against pressure to innovate and improve product quality, including but not

limited to ad load. Meta’s principal economic expert confirms the uncontroversial point that

competition is better for consumers than a monopolized market, CS ¶¶ 983, 1901, and the

evidence shows Meta worked harder to improve its PSN offerings during the rare episodes when

it faced a competitive threat: e.g., Google+ and Snapchat Stories. CS §§ IV.A.1-2.

       Outside of these short episodes, Meta recognizes that it has underinvested in the friends

and family use case on Facebook and Instagram, causing user dissatisfaction. CS § II.C.3.c.

Meta’s power has also allowed it to deprioritize privacy, and to collect more data than its users

would prefer, contributing to declining user sentiment regarding privacy and to major privacy

breaches and scandals such as Cambridge Analytica. See CS §§ II.C.3.b, II.C.4.a, IV.C.4.
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Likewise, Meta has underinvested in integrity on Instagram and adopted integrity policies that

harm users. For example, evidence indicates that: Meta is ineffective in its efforts to remove

objectionable content including material sexualizing children, and reportedly Instagram’s

algorithm has even recommended such material to certain users, CS § V.D.5.e.1, 2; and Meta

imposed a policy of delaying removal of content posted by high-profile accounts, resulting in

widespread exposure to harmful content (including but not limited to “revenge porn”), see CS §

V.D.6.a.

       Meta’s internal records also show rising user dissatisfaction with multiple other aspects

of product quality, including ad load, reliability, and overall satisfaction. But freed of

competitive constraints from PSN rivals, Meta has consistently declined to take steps to address

known points of user dissatisfaction, recognizing that doing so would hurt profits. CS §§ II.C.5,

IV.B-C. In sum, extensive evidence plainly indicates that, lacking meaningful PSN services

competition, Meta has harmed consumers by degrading product quality. See CS §§ IV.B-C.

       D. Meta’s Request for a “Presumption” of Legality is Legally and Factually
          Baseless

       Meta argues that it is entitled to “a presumption” due to the Hart-Scott-Rodino Act

(“HSR”) review process is both legally and factually baseless. Mot. at 47. Indeed, Meta’s

argument is expressly foreclosed by the statutory text. Congress explicitly provided that the

FTC’s decision not to challenge an acquisition after HSR review has no impact on its ability to

bring a challenge in the future. 15 U.S.C. § 18a(i)(1) (stating that the FTC’s failure to act “shall

not bar any proceeding or any action with respect to such acquisition at any time under any other

section of this Act or any other provision of law”).

       Meta’s arguments for inventing a presumption are unfounded. Meta suggests,

incorrectly, that HSR reviews necessarily entail a clean bill of health under Section 2. Mot. at


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48. First, HSR reviews do not suggest a clean bill of health even under Section 7, as Meta was

expressly told at the time of the Instagram acquisition. CS ¶¶ 2558. Any contrary inference

would be deeply problematic given that the FTC and DOJ have significant resource constraints

and limited time and information during the HSR process. See 15 U.S.C. § 18a(e). Consistent

with this, courts have refused to provide defendants with any beneficial inference stemming from

even lengthy merger and non-merger antitrust investigations. See, e.g., Steves & Sons, Inc. v.

JELD-WEN, Inc., 988 F.3d 690, 701-702, 714 (4th Cir. 2021) (DOJ’s “decision not to pursue

[acquisition after two separate investigations] isn’t probative as to the merger’s legality . . .”); In

re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 664 (7th Cir. 2002) (DOJ’s inaction

did not indicate absence of a price-fixing conspiracy); In re Carbon Black Antitrust Litig., 2005

WL 2323184, at *1 (D. Mass. Sept. 8, 2005).

        Meta cites no contrary authority, and its cases are mischaracterized and inapposite. Mot.

at 48. Texaco Inc. v. Dagher is irrelevant, as the Court did not assess whether the relevant

transaction violated the antitrust laws; the Court merely presumed it was lawful for purposes of

assessing the plaintiffs’ challenge to the way the joint venture set its prices. 547 U.S. 1, 6 n.1

(2006). Nor does Texaco suggest that FTC inaction should be given any weight, as the relevant

“federal and state regulators,” Mot. at 48, imposed a consent decree. Id. at 4. Likewise, in

Eastman v. Quest Diagnostics Inc., 2016 WL 1640465 (N.D. Cal. Apr. 26, 2016), the FTC did

not “clear[]” the acquisition, but required a divestiture to remedy competitive concerns. 2016

WL 1640465, at *9. And United States v. Paramount Pictures, Inc., merely recites that the HSR

Act provides the agencies the “opportunity to evaluate” transactions. 2020 WL 4573069, at *7

(S.D.N.Y. Aug. 7, 2020).

        Meta’s suggestion that HSR reviews involving Clayton Act Section 7 should create a



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presumption in Section 2 cases is also unsupported. Mot. at 48. Indeed, it cuts against, not in

favor of, Meta’s argument, as it would be extraordinary to treat review under one statute as

creating a presumption of legality under another. Further, Meta misquotes Rothery Storage as

indicating that Section 7 sets “a lower bar” than Section 2; in fact the language Meta selectively

quotes was about Section 1. See Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d

210, 220 (D.C. Cir. 1986) (Section 7’s aim to reach incipiency differs from “rule-of-reason

analysis under section 1 of the Sherman Act”). Section 2 has its own elements that are distinct

from Section 7 (and Section 1). See ECF 59 at 28-30, (Apr. 7, 2021).

       Meta is likewise incorrect that permitting post-acquisition challenges to an HSR

reportable acquisition would “provide little incremental benefit to consumers” due to the

“regulatory regime” provided by the HSR Act. Mot. at 48-49. First, Trinko did not suggest that

a regulatory regime precludes enforcement of any antitrust laws, only that it did not create a new

antitrust duty for firms to provide access to rivals. Verizon Commc’ns Inc. v. Law Offices of

Curtis V. Trinko LLP, 540 U.S. 398, 412-15 (2004). So too for Town of Concord, Mass. v. Bos.

Edison Co., 915 F.2d 17, 22 (1st Cir. 1990) (prices set by regulation did not constitute an illegal

price squeeze while noting “we are not saying [] that the antitrust laws do not apply in this

regulatory context”) (emphasis in original). It would be perverse to construe the HSR Act—a

statute designed to enhance enforcement of the antitrust laws—to preclude enforcement of those

laws. Second, Meta misses the import of inappropriately analogizing the HSR Act to a

regulatory regime. Trinko and Boston Edison involved on ongoing regulatory oversight by

pertinent government agencies. Trinko, 540 U.S. at 402, 406, 412-14 (describing “detailed

regulatory scheme” involving oversight by the FCC); Boston Edison, 915 F.2d at 18, 25-28

(detailing “fully regulated industry” with comprehensive government involvement). If the HSR



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Act imposed a comparable regulatory regime (it does not), the FTC and DOJ are the pertinent

regulators providing ongoing oversight, and subsequent legal intervention by either agency is

both appropriate and necessary.

        Finally, Meta incorrectly suggests that this case is “unfair” and “unprecedented.” Mot. at

47, 49-50. Meta’s suggestion that a government challenge to consummated acquisitions is

unprecedented is simply wrong: in Grinnell, the defendant had notified the DOJ about the

acquisitions and would not proceed unless DOJ “clear[ed]” them; DOJ investigated and notified

Grinnell that it “did not presently intend to take action”; and the Supreme Court did not hesitate

to hold that the acquisitions violated Section 2. See Grinnell, 384 U.S. at 576; Brief for Grinnell

Corp., 1966 WL 100458 at *15-16 (Feb. 18, 1966). The same is true after passage of the HSR

Act. See, e.g., Steves & Sons, Inc. v. JELD-WEN, Inc., 988 F.3d 690, 714 (4th Cir. 2021)

(Section 7 violation despite two prior government investigations); Complaint, FTC v. Cardinal

Health, Inc., No. 15-cv-3031 (S.D.N.Y. Apr. 20, 2015), available at

https://www.ftc.gov/system/files/documents/cases/150420cardinalcmpt.pdf (Section 2 claim

challenging, inter alia, two consummated acquisitions more than 10 years after HSR Act

notifications).

        Meta’s suggestion of “unfair[ness]” is also off base in several respects. Contrary to

Meta’s suggestion, the HSR Act does not confer a “reliance” interest on merging parties. Mot. at

47, 49. As already noted, the statute expressly contemplates post-HSR legal action, and the

legislative history confirms the purpose of the act was to enhance antitrust enforcement, not

hinder it in any way. See H.R. REP. 94-1373, at 1, 5, 1976 U.S.C.C.A.N. 2637, 2637 (describing

congressional intent to “strengthen the enforcement of Section 7” and explaining that the Act “in

no way alters the substantive legal standard of Section 7”). Meta has also not been harmed: it



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has reaped billions in wrongfully maintained monopoly profits since the acquisitions closed.

       Meta asserts that “there is no allegation that Meta obstructed, withheld information, or

was anything other than fully cooperative.” Mot. at 47. The FTC has not revisited its prior

reviews, nor Meta’s compliance efforts, because they are legally irrelevant as discussed above.

But there should be no misunderstanding: at Meta’s request the FTC undertook only a limited

review of the Instagram acquisition; the Instagram review in 2012 involved only unsworn

interviews and a few thousand documents; and the WhatsApp review in 2014 was even more

abridged. CS §§ VI.A, VI.B. By contrast, the FTC now has available vastly more evidence,

including pre-acquisition documents Meta did not provide in 2012 and 2014. CS § VI.C.

       Moreover, there is now extensive post-acquisition evidence demonstrating the

anticompetitive nature of the acquisitions, Meta’s monopoly power and enduring entry barriers,

and consumer harms. CS § VI.C.3. Challenging Meta’s conduct therefore does not “chill”

procompetitive behavior, Mot. at 49-50, but rather directly vindicates the antitrust laws. In

addition, Meta’s assertion that the FTC’s post-consummation challenge is unusual simply

reinforces the reality that the FTC and DOJ do not unpredictably or arbitrarily pursue

consummated acquisitions, and undermines the notion this Court needs to create a novel

presumption to avoid the risk of “chilling” procompetitive conduct by “other firms.” Mot. at 49.

       The world Meta proposes is antithetical to the text, structure, and purpose of the Sherman

and HSR Acts. It is one in which, if enforcers fail to take action, for any reason, to block in

advance an acquisition (or set of acquisitions) that maintains monopoly power, the ill-gotten

power is locked in forever and consumers must suffer. Fortunately, that is not the law.

III.   The Court Should Grant Partial Summary Judgment and Dismiss Meta’s Claimed
       Procompetitive Justifications

       In light of the substantial evidence that Meta’s acquisitions of Instagram and WhatsApp


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were anticompetitive, to attempt to overcome liability, Meta must proffer proof of (i)

extraordinary, (ii) non-pretextual benefits that enhance competition for PSN services, for which

(iii) its acquisitions of Instagram and WhatsApp were necessary. Infra § III.A.

       Meta’s motion does not even argue that undisputed facts establish any of these

requirements. Accordingly, Meta cannot be awarded summary judgment on the basis of any

claimed procompetitive benefit because Meta cannot plausibly assert that the evidence eliminates

a genuine dispute as to whether the anticompetitive effects of its acquisitions are outweighed by

legally cognizable procompetitive justification. See Microsoft, 253 F.3d 34, 58-59 (describing

burden-shifting framework).

       Moreover, as described below, undisputed evidence indicates that Meta’s procompetitive

benefit claims—articulated in its interrogatory responses in response to the Court’s order—are

legally deficient. In particular, undisputed evidence indicates that Meta’s claims are all

pretextual, were achievable without Meta acquiring Instagram and WhatsApp, or are not related

to enhancing competition. Accordingly, the FTC moves for partial summary judgment

dismissing Meta’s Fourth and Fifth Affirmative Defenses.

       A. The Legal Standards Applicable to the FTC’s Cross-Motion and Meta’s
          Procompetitive Benefit Justifications

               1. The Legal Standard for Motions for Partial Summary Judgment

       Partial summary judgment is proper when there is no genuine dispute of material fact that

would allow a reasonable factfinder to find in favor of the nonmoving party. Fed. R. Civ. P.

56(a); Anderson, 477 U.S. at 248; Surescripts, 665 F. Supp. 3d at 43-44.

       Partial summary judgment “can serve a useful brush-clearing function even if it does not

obviate the need for trial.” Jackson v. Att’y Gen. U.S., 456 F. Supp. 3d 62, 66-67 (D.D.C. 2020)

(citation omitted). In antitrust cases, courts do not hesitate to grant partial summary judgment


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dismissing non-cognizable procompetitive justifications, even where factual disputes remain

regarding the plaintiff’s prima facie case. See In re NorthShore Univ. HealthSystem Antitrust

Litig., 657 F. Supp. 3d 1077, 1102 (N.D. Ill. 2023) (granting partial summary judgment

dismissing defendants’ non-merger-specific procompetitive justification in consummated

acquisition challenge under Section 2 and Section 7); In re NCAA Student-Athlete Name &

Likeness Licensing Litig. (“NCAA”), 37 F. Supp. 3d 1126, 1151-52, 1155 (N.D. Cal. 2014)

(granting partial summary judgment dismissing a non-cognizable justification).

               2. The Legal Standard for Procompetitive Justifications

       It is doubtful that a monopolist’s acquisition of an actual or potential competitor can ever

be justified by purported procompetitive justifications. Such an act is “not a form of competition

on the merits,” and thus does not fall within Microsoft’s contemplation that a Section 2 defendant

can respond to a plaintiff’s prima facie case by asserting “a procompetitive justification—[that

is] a non-pretextual claim that its conduct is indeed a form of competition on the merits.”

Microsoft, 253 F.3d at 59; Sun Newspapers, 1983 WL 1853 at *14 (“[W]hen the conduct is not

an innovation, [but an acquisition] it is more properly viewed as an unlawful act of a monopolist:

there is a suppression of competition without any corresponding benefits.”).

       Indeed, in Grinnell, the Supreme Court observed in a Section 2 case involving

acquisitions that a rebuttal stage is obsolete where a court determines “monopoly power was

consciously acquired.” Grinnell, 384 U.S. at 576 n.7 (“[W]e have no reason to reach the further

position of the District Court that once monopoly power is shown to exist, the burden is on the

defendants to show that their dominance is due to skill, acumen, and the like.”). Regardless, the

issue need not be resolved in this motion because undisputed evidence shows that Meta’s

procompetitive justification claims do not meet legal prerequisites for procompetitive

justifications in a Section 2 case. Cf. United States v. Anthem, Inc., 855 F.3d 345, 355 (D.C. Cir.
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2017) (declining to resolve viability of an efficiencies defense under Section 7 because other

legal requirements not met).

       First, Section 2 requires a defendant advancing a procompetitive justification to, among

other things, demonstrate that its purported benefit claim is not “pretextual.” Microsoft, 253 F.3d

at 59. A justification is pretextual if was “not a genuine reason for [Meta’s] conduct.” Image

Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1220 n.12 (9th Cir. 1997) (quoting jury

instructions); id. at 1219 (citing Kodak, 504 U.S. at 484) (The antitrust laws do not “allow[] a

monopolist to rely upon a pretextual business justification to mask anticompetitive conduct.”);

see also LePage’s 324 F.3d at 164 (“The defendant bears the burden of ‘persuading the

[factfinder] that its conduct was justified by [a] normal business purpose.’”) (citation omitted).

       Second, as this Court has already determined, “the burden [is] on Meta to demonstrate

that benefits it claims resulted from its acquisitions ‘could not have been achieved absent the

acquisitions.’” ECF No. 281 at 7 (quoting Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 478

(7th Cir. 2020) (requiring defendant to demonstrate that disputed conduct “was the result of, or

necessary to achieve, much greater procompetitive benefits”)). This aligns with the requirement

of this Circuit that in the Section 7 context claimed benefits must be “shown to be merger-

specific, meaning that it ‘cannot be achieved by either company alone.’” Anthem, 855 F.3d at

356 (quoting FTC v. H.J. Heinz Co., 246 F.3d 708, 722 (D.C. Cir. 2001)).

       Third, Meta may only present procompetitive benefits, that is benefits that enhance

competition. Image Tech. Servs., 125 F.3d at 1212 (a monopolist’s proposed justification must

“legitimately promote competition.”); cf. Anthem, 855 F.3d at 354 (procompetitive benefits must

“enhance rather than hinder competition”). Further, any claimed benefits must enhance

competition in the relevant market harmed by Meta’s anticompetitive conduct—here, personal



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social networking services in the United States. Competition “cannot be foreclosed with respect

to one sector of the economy because certain private citizens or groups believe that such

foreclosure might promote greater competition in a more important sector of the economy.”

United States v. Topco Assocs., Inc., 405 U.S. 596, 610 (1972); see also Clarett v. National

Football League, 306 F. Supp. 2d 379, 408-409 (S.D.N.Y. 2004), rev’d on other grounds, 369

F.3d 124 (2d Cir. 2004) (a defendant “may not justify the anticompetitive effects of a policy by

arguing that it has procompetitive effects in a different market.”).

       Finally, magnitude matters as well. As the Court of Appeals has recognized in the

Section 7 context, “high market concentration” requires “proof of extraordinary efficiencies.”

Heinz, 246 F.3d at 720 (“[e]fficiencies almost never justify a merger to monopoly or near-

monopoly levels”); see also ECF No. 281 at 6 (internal citation omitted) (“[A]n efficiency

defense cannot be allowed in monopoly cases [involving an acquisition] in the absence of an

overwhelming demonstration that substantial efficiencies are involved . . . .”).

       B. Meta’s Asserted Procompetitive Justifications in this Litigation

       Meta has asserted, through its Fourth and Fifth affirmative defenses, that “there were

procompetitive justifications” for the Instagram and WhatsApp acquisitions. See ECF No. 281

(Order) at 1-2; ECF No. 94 (Answer) at 38. Accordingly, the FTC served interrogatories asking

Meta to “[i]dentify and describe each procompetitive justification.” PX10092 at -010-11; see

also ECF No. 281 at 1-2. Following a motion to compel, ECF No. 266, the Court ordered Meta

to supplement certain of its responses. See ECF No. 281.

       On May 31, 2023, after the close of fact discovery, Meta asserted ten categories of

justifications—six related to Instagram, four related to WhatsApp—broken into approximately

120 discrete claimed benefits. See PX10092 at -014-26. Each of Meta’s Instagram categories

identifies resources or expertise Meta claims it brought to Instagram, related to items like
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features, growth, monetization, integrity, and infrastructure. CS §§ VII.A.1-6. In identifying

Meta resources brought to Instagram, Meta’s claims necessarily involve capabilities available to

Meta’s applications—including Facebook and Facebook Camera—absent Meta’s acquisition of

Instagram. Id. None of Meta’s Instagram justifications identify improvements to Facebook

Camera or Facebook Blue that resulted from the acquisition. CS ¶ 2606.

       Similarly, each of Meta’s WhatsApp categories identifies resources or expertise Meta

claims it brought to WhatsApp, which again necessarily involve resources available to Meta’s

own applications. See CS ¶¶ 2607, 2609-2610, 2614, 2617. None of Meta’s WhatsApp

justifications identifies improvements to Facebook Messenger or any other Meta service that

resulted from the acquisition. See generally CS ¶ 2607.

       C. Undisputed Facts Show that Meta’s Procompetitive Benefit Claims Are Not
          Cognizable

       Undisputed facts show that Meta’s ten proffered procompetitive justifications fail as a

matter of law because they are either pretextual, achievable without the acquisitions, or do not on

their face even tangentially relate to enhancing competition for PSN services. Specifically,

undisputed facts indicate that all six of Meta’s Instagram justifications are pretextual and could

have been achieved without Meta’s acquisition, infra § III.C.1, and for WhatsApp, that Meta’s

first three justifications are pretextual and could have been achieved without Meta’s acquisition,

and the last (tenth overall) justification does not involve enhancing competition. Infra § III.C.2-

3.

       To be clear, Meta’s purported “procompetitive justifications” are legally deficient for

additional reasons, including because they are neither “extraordinary” nor supported by

“overwhelming” proof. Supra III.A.2. The discussion below focuses only on certain threshold

elements (e.g., pretext) that are amenable to resolution based on undisputed facts. But the FTC


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would expect to contest all elements at a trial.

       Indeed, granting the FTC’s motion will substantially increase efficiency by averting the

pointless presentation of evidence for legally non-cognizable justifications, which would

otherwise likely consume significant time at trial. Meta claims ten categories of justifications,

and approximately 120 individual benefits within these ten categories. CS §§ VII.A.1-6,

VII.B.1-4; see also PX10092 at -014-26. Even if Meta presents evidence on only a subset of its

claimed benefits, the trial time consumed is likely to be substantial: Meta’s interrogatory

responses cite hundreds of documents (without any explanation of their relevance), at least some

of which it would presumably introduce at trial. See PX10092 at -028-77. Moreover, several of

Meta’s expert reports reference procompetitive benefits, and two are devoted exclusively to the

topic. CS ¶ 1005.

       If Meta were to present such evidence, the FTC would likely request trial time in rebuttal,

because Meta’s claimed justifications not only fail at the threshold for the reasons identified

below, they are also contradicted by significant evidence appropriate for presentation at trial.

For example, evidence indicates that Meta’s acquisition did not actually improve Instagram’s

integrity outcomes, and that Instagram and WhatsApp did not need access to Meta’s

infrastructure to continue growing. See CS ¶¶ 2017, 2183, 2277, 2391, 2452; see also CS § V.

If Meta presents integrity or infrastructure claims at trial, the FTC would likely need to request

time to present a rebuttal case involving witnesses who otherwise would not need to testify,

including non-party witnesses and the FTC’s expert witnesses who analyzed Meta’s

procompetitive benefit claims and supporting evidence. See, e.g., CS §§ I.B.3, I.B.4.b, I.B.4.d.

       Fortunately, Meta’s evidence and the FTC’s rebuttal is unnecessary and irrelevant

because Meta’s claims are not legally cognizable. See, e.g., Clarett, 306 F. Supp. 2d at 409



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(dismissing the defendant’s proffered justifications as non-cognizable and granting summary

judgment for plaintiff where defendant “failed to offer any legitimate procompetitive

justifications” obviating the need for trial or fact finding); see also Law v. Nat’l Collegiate

Athletic Ass’n, 134 F.3d 1010, 1021-24 (10th Cir. 1998) (holding that defendant’s proffered

procompetitive justifications were non-cognizable and upholding grant of summary judgment for

plaintiff). Accordingly, the Court should narrow the issues for trial by eliminating non-

cognizable justifications, just as other courts have done. In re NorthShore, 657 F. Supp. 3d at

1102; NCAA, 37 F. Supp. 3d at 1155 (defendant could not rely at trial on legally non-cognizable

claimed procompetitive benefits).

               1. All of Meta’s Instagram Justifications Are Pretextual and Could Have Been
                  Achieved Absent the Acquisition

       Meta’s Instagram procompetitive justification claims should be dismissed because the

record evidence plainly establishes that the genuine reason Meta acquired Instagram was to

eliminate a competitive threat. As such, Meta’s asserted justifications for the Instagram

acquisition in this litigation are pretextual, and not “a genuine reason for [Meta’s] conduct.”

Image Tech Servs., 125 F.3d at 1220 n.12 (quoting jury instructions). Meta’s Instagram

justifications also fail because each involve Meta’s own resources and Meta could have

improved or invested in its own comparable applications and thus achieved the asserted benefits

without eliminating Instagram and WhatsApp as competitors. See Heinz, 246 F.3d at 721-22.

                       (a) Meta’s Instagram Justifications Are Pretextual

       Extensive record evidence indicates that Meta acquired Instagram to eliminate Instagram

as a competitive threat. See supra § II.A; CS §§ III.A-B. Meta was struggling to adapt to the

“shift to mobile,” CS §§ III.A.1-3, with the Facebook mobile app performing poorly and

requiring a code rewrite. CS § III.A.4. At this point of vulnerability, Instagram emerged as a


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threatening mobile-first PSN app with advanced and attractive photo-sharing capabilities. CS §

III.B.1. Instagram grew explosively, CS ¶¶ 1607-16, and rapidly emerged as “the clear leader in

user experience and photo sharing.” CS ¶¶ 1644, 2056(a); id. § III.B.2.

       Spurred by its fear of Instagram, Meta initially attempted to improve Facebook’s own

photo sharing functionality and to develop a “new mobile app”—Facebook Camera, a mobile

interface for Facebook intended to have better photo sharing functionality. See supra § II.A.1.

Yet Meta’s efforts to improve its own mobile applications stalled throughout 2011 and early

2012, CS §§ III.A.3, III.B.4, with Meta senior executives recognizing “we are still getting our ass

kicked by Instagram,” and getting “cranky” about the “lack of progress” “mainly motivated by a

desire to slow down Instagram’s growth.” CS ¶ 1679.

       Confronted with its inability to quickly develop attractive mobile features, Meta decided

it would be easier to buy Instagram than to compete with it. CS § III.B.5. In February 2012, Mr.

Zuckerberg proposed acquiring Instagram, and candidly explained the reason: “I’m worried

we’re so far behind that we don’t even understand how far behind we are and that this is going to

be a huge amount of work . . . I worry that it will take us too long to catch up, if we even will.”

CS ¶ 1690. Mr. Zuckerberg told other executives that in light of Instagram’s lead over

Facebook, “we might want to consider paying a lot of money” to acquire Instagram, CS ¶ 1690,

and the next day he contacted an Instagram board member to begin discussions. CS ¶¶ 1691-92.

       Mr. Zuckerberg’s motivations leading up to the Instagram acquisition are clear: in

February 2012, Mr. Zuckerberg explained that the rationale for buying companies such as

Instagram that were “building networks that are competitive with our own” was to “neutralize a

potential competitor,” CS ¶ 1693-94, and that the true goal of acquisition was not to

“incorporate[e] the social dynamics they’ve invented into our core products,” as Meta could



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achieve that independently: “in reality we already know these companies’ social dynamics and

will integrate them over the next 12-24 months anyway.” CS ¶ 1694. In March 2012, he again

warned colleagues that Instagram was trying to a build “parallel network” that would allow users

(including friends and family) to interact on Instagram’s network rather than on Facebook’s. CS

¶¶ 1635, 1696. When Instagram was a smaller network, sharing took place both on Facebook’s

network and on Instagram’s, but Mr. Zuckerberg recognized the threat: “as Instagram grew, the

balance could shift. I think we were starting to see: Hey, well, some people might just share on

Instagram now.” CS ¶ 1635.

       On April 9, 2012, Meta announced that it acquired Instagram for $1 billion—double the

valuation Instagram had achieved days before and “unprecedented” for a business of this kind.

CS ¶¶ 1705, 1710. Mr. Zuckerberg and Chief Operating Officer Sheryl Sandberg had previously

agreed that this was “way too much,” CS ¶ 1700, but Mr. Zuckerberg justified the “really

expensive” price because absent the acquisition “Instagram could hurt us meaningfully” and was

“pretty threatening to us.” CS ¶ 1701. Extensive other undisputed facts demonstrate the same:

that Meta’s “genuine reason” for the acquisition was removing a competitive threat. See, e.g.,

CS ¶ 1706.a (Mr. Zuckerberg privately agreeing that “Instagram was our threat”); CS ¶ 1706.c

(other Meta executives justified purchase price based on “defensive value” of preventing “any

competitors from gaining this traction.”).

       Indeed, there is no evidence that Meta assessed any potential procompetitive benefits

prior to or during Mr. Zuckerberg’s hurried negotiations with Mr. Systrom, and the minutes of

Mr. Zuckerberg’s April 8, 2012 presentation to Meta’s Board of Directors fail to mention the

justifications now advanced by Meta. See CS ¶ 1704. And following the acquisition’s

announcement, Meta decided not to “waste any time” planning for a migration of Instagram to



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Meta’s infrastructure, CS ¶ 2309.c, and Mr. Zuckerberg confirmed in September 2012, even after

the acquisition closed, that Meta had “no agenda in terms of making [Instagram] go onto

[Meta’s] infrastructure.” CS ¶ 2310(b).

       Further, after the acquisition closed, Meta underinvested in and then eliminated Facebook

Camera, which was designed to be compete with Instagram and improve upon the photo-sharing

features of the Facebook mobile application. CS ¶¶ 1848, 1851, 1853-55, 1859-860. And Meta

managed Instagram with a prime focus on protecting Facebook, not promoting overall growth.

See CS ¶ 1864 (Meta leadership “would not accept any decrease in the usage of Facebook Blue”

even if that decrease came with an increase on Instagram).

       This evidence confirms that the genuine reason for Meta’s conduct was to forestall

competition from Instagram and not to achieve the post hoc “procompetitive justifications”

advanced by Meta in this litigation. As such, Meta’s procompetitive benefit justifications for the

Instagram acquisition are pretextual and thus not cognizable, as numerous courts have held on

similar or even less robust records. See New York v. Actavis PLC, 787 F.3d 638, 658 (2d Cir.

2015) (justifications pretextual based on “evidence showing that Defendants were, in the words

of Defendants’ own CEO, ‘trying to . . . put up barriers or obstacles’ to generic competition”);

Image Tech. Servs., 125 F.3d at 1219 (“[E]vidence regarding the state of mind of [the

monopolist’s] employees may show pretext, when such evidence suggests that the proffered

business justification played no part in the decision to act.”); McWane, 783 F.3d at 841

(defendant’s procompetitive justifications belied by “internal documents” that discussed the

exclusionary conduct “in terms of . . . preventing [the target] from becoming an effective

competitor”); United States v. Dentsply Int’l, Inc., 277 F. Supp. 2d 387, 453 (D. Del. 2003)

(rejecting defendant’s proffered justifications where the defendant’s “pre-litigation rationale for



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[the relevant conduct] was expressly to exclude competitors”); see Dentsply, 399 F.3d 181 at 197

(affirming district court’s pretext finding, reversing on other grounds).

                       (b) Meta’s Instagram Justifications Were Achievable Without the
                           Acquisition

       Meta’s Instagram justifications exclusively identify resources that originated from Meta

(not Instagram), and assert that these resources or expertise supported the Instagram application

after it came under Meta’s control. See CS § VII.A. Undisputed evidence indicates that Meta’s

acquisition of Instagram was not “necessary to achieve” these claimed benefits, however, and

they are accordingly not cognizable. See Viamedia, 951 F.3d at 478.

       Meta’s acquisition of Instagram was not necessary to achieve the claimed benefits

because there is no dispute that: (1) at the time it acquired Instagram, Meta offered Facebook

Camera, a mobile app with social and photo-sharing features similar to Instagram’s offering, and

that Meta also offered nearly the same social and photo-sharing features on Facebook’s mobile

application, CS § III.B.4; and (2) the resources or expertise that Meta now claims as a benefit

originated with Meta (not Instagram) and could have been used to support Facebook Camera

and/or Facebook Blue. CS ¶¶ 2579, 2582, 2584, 2587, 2591, 2596-98, 2600.

       The Court of Appeals’ evaluation of the merger specificity of claimed acquisition

benefits in Anthem and Heinz is instructive. In Heinz, the defendants argued that the acquisition

would provide Heinz with access to Beech-Nut’s better recipes and reduce overall costs by

moving Beech-Nut’s production to a more efficient and underutilized plant owned by Heinz.

Heinz, 246 F.3d at 721-22. The district court credited this argument, but the Court of Appeals

reversed because Heinz failed to show it was unable to improve its own products and produce

them at the same plant (and thus at the same cost) as the merged entity, and thus “achieve the

efficiencies of merger without eliminating . . . a competitor.” Id. Accordingly, the district court


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erred by failing to consider whether the proposed efficiencies could “be achieved by either

company alone because, if they can, the merger’s asserted benefits can be achieved without the

concomitant loss of a competitor.” Heinz, 246 F.3d at 722.

       In Anthem, the defendants argued that Anthem had spent “probably a decade”

unsuccessfully attempting to replicate Cigna’s “integrated wellness” approach, and therefore

needed to purchase Cigna to include this approach in a new product that could combine Cigna’s

superior quality with Anthem’s lower provider rates. Anthem, 855 F.3d at 357-58. The Court of

Appeals held that this purported efficiency was not merger-specific where defendants failed to

show that, absent the merger, Anthem “cannot develop better customer-facing programs,” and

failed to provide “evidence that Anthem would be unable to develop a Cigna-like product

without merging.” Anthem, 855 F.3d at 357, 365.

       Meta’s Instagram justifications suffer the same deficiencies. If it had not acquired

Instagram, Meta could have used its resources to continue to develop its non-Instagram products,

including Facebook and Facebook Camera. Instead, “since we’re acquiring Instagram,” Meta

decided to “scale back” and ultimately cancel Facebook Camera. CS ¶¶ 1852, 1859. Indeed,

there is no dispute that absent the acquisition Meta would have continued to develop its own

non-Instagram products, as Mr. Zuckerberg testified that Meta would have done so; instead, he

concluded following the acquisition “that we should just put all of our investment behind

Instagram.” CS ¶¶ 1860-62 (Mr. Zuckerberg testified that if Meta had not acquired Instagram,

“we would have [] continued working on the camera app,” and that prior to the acquisition Meta

“had a good shot of [] innovating faster than – than Instagram.”)

       Thus, “the merger’s asserted benefits could be achieved without the concomitant loss of a

competitor,” see Heinz, 246 F.3d at 722, and the resulting elimination of any benefits that would



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have resulted if Meta had faced ongoing competition from Instagram. See CS §§ III.D.1, IV.B.

                2. Meta’s First Three WhatsApp Justifications Are Pretextual and Could Have
                   Been Achieved Absent the Acquisitions

        Summary judgment is warranted on Meta’s first three WhatsApp justifications for the

same reason: undisputed facts indicate that they were not “the genuine reason” for the

acquisition and that they could have been achieved without the acquisitions. See Image Tech.

Servs., 125 F.3d at 1220 n.12 (quoting jury instructions); Viamedia, 951 F.3d at 478.

                        (a) Meta’s First Three WhatsApp Justifications Are Pretextual

        As with Instagram, abundant record evidence indicates that Meta’s goal in acquiring

WhatsApp was to eliminate a competitive threat, not to achieve the justifications Meta now

asserts in this litigation. See supra § II.A.2.

        Contemporaneous documents establish the rationale of removing a competitive threat and

confirm that Meta’s “proffered business justification[s] played no part in the decision to act.”

Image Tech. Servs., 125 F.3d at 1219. Unanswerable evidence of Meta’s “genuine reason” for

the acquisition, id. at 1220 n.12, is provided by the contemporaneous statements of Mr.

Zuckerberg, who is Meta’s “ultimate decision-maker,” and who personally negotiated and

oversaw the acquisition. CS ¶¶ 1562, 1832(e), 1833. Mr. Zuckerberg explained the threat posed

by OTT messaging apps, the specific threat that WhatsApp could add features and “start winning

in the US,” and Meta’s desire to “use M&A to build a competitive moat” in mobile. CS

¶¶ 1802(h), 1807(g). Numerous Meta executives confirmed the gravity of the WhatsApp threat

(and the “sleepless nights” it caused (CS ¶¶ 1807(h); 2547(c)) repeatedly emphasizing Facebook

Messenger’s inferiority to WhatsApp and the likelihood that another major tech company

                    could acquire WhatsApp and compete with Facebook in PSN services if Meta

did not act first. CS ¶¶ 1723-28, 1737, 1811, 1818. Indeed, Meta’s dash to acquire WhatsApp in


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February 2014—over a rushed two weeks—

                        CS ¶¶ 1814, 1832.

        Further, contemporaneous records are devoid of planning for the “justifications” Meta

now advances. For example, Meta now claims that “monetization” benefits justify its acquisition

of WhatsApp (CS ¶¶ 2607, 2615) but at the time of the acquisition, Meta’s board of directors

was informed that despite the “[m]eaningful P&L impact” of the deal, Meta had no plans for

monetization and did not even plan to “focus on monetization for years” despite the lack of “a

revenue model proven to work at scale.” CS ¶ 1842(f). Likewise, Meta now claims that its

acquisition was justified because it anticipated that Meta’s infrastructure would contribute to

“improved reliability and engagement” on WhatsApp. CS ¶ 2608. But WhatsApp co-founder

Brian Acton testified that no one from Meta requested information about WhatsApp’s

infrastructure during the acquisition negotiations, CS ¶ 2456(d), and contemporaneous

documents indicate Meta anticipated no cost savings from moving WhatsApp to Meta

infrastructure. CS ¶ 2507.

        Meta’s lack of a legitimate business justification for acquiring WhatsApp is confirmed by

the enormous premium it paid, and by Meta’s massive financial losses over the ensuing years,

which make sense only because preventing WhatsApp’s entry protected Meta’s monopoly

profits. Meta’s $19 billion acquisition price vastly exceeded a post-closing valuation

                                                     and all contemporaneous pre-acquisition

valuations. CS ¶¶ 1838, 1843-44. Mr. Zuckerberg confirmed that, even a decade later, Meta

was “                                ” the purchase price it paid for WhatsApp. CS ¶ 2438(a).

And even leaving aside the enormous acquisition price, Meta has                                on

WhatsApp since its acquisition, an average of                               . CS ¶¶ 2435-37.



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       Taken together, this evidence establishes unequivocally that the real reason that Meta

sacrificed $19 billion (plus                             for the next decade), was to squelch a

threat, not to achieve the first three of Meta’s post hoc categories of justifications. See CS ¶¶

1844-45, 1881-84, 2435-37. Accordingly, its first three justifications are entirely pretextual and

not cognizable. Image Tech. Servs., 125 F.3d at 1220 n.12 (quoting jury instructions).

                       (b) Meta’s First Three Justifications for the WhatsApp Acquisition Were
                           Achievable Without the Acquisition

       Meta’s first three supposed justifications for the WhatsApp acquisition are additionally

deficient because, like the Instagram justifications, Meta could have achieved them by using its

resources to improve its own products—specifically Facebook Messenger. See Anthem, 855

F.3d at 358, 365; Viamedia, 951 F.3d at 478; Heinz, 246 F.3d at 722; CS ¶¶ 2610, 2614, 2618.

       The shift to mobile fueled the growth of over-the-top (“OTT”) mobile messaging

applications, including WhatsApp. CS § III.C.1.a. In an effort to compete in that space, CS

¶¶ 1718-21, Meta launched “Facebook Messenger,” a standalone messaging app in August 2012.

CS ¶ 1722. Meta had the option to respond to the competitive threat posed by WhatsApp

through Facebook Messenger (see CS ¶ 17547), but instead, as already detailed, it acted to

squelch the threat through acquisition. Supra § I.A.2

       Meta now claims purported “benefits” of bringing its resources to WhatsApp related to

infrastructure, features, monetization, and various general and administrative functions. CS

¶ 2607. Indeed, Meta’s first three WhatsApp justifications relate entirely to the use of Meta

resources to support WhatsApp. See CS ¶ 2607. But there can be no dispute that Meta’s

resources were available to Facebook Messenger, and that Facebook Messenger and WhatsApp

were competing messaging products, as Meta’s contemporaneous documents establish. CS

¶¶ 2609-10, 2614, 2617; id. § III.C.2.b. Here again, then, as in Anthem and Heinz, Meta’s


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purported benefit claims were achievable without the acquisition: Meta could have supported or

improved Facebook Messenger with the same resources it argues were used to support

WhatsApp, “without the concomitant loss of a competitor.” Heinz, 246 F.3d at 722; see Anthem,

855 F.3d at 358, 365. Moreover, the evidence that Facebook Messenger lagged WhatsApp as a

messaging product (CS §§ III.C.2.a, III.C.2.b.1-2) cuts against, not in favor, of Meta’s benefit

claims. Anthem, 855 F.3d at 358 (“To the extent Anthem has failed to devote the resources

needed to improve its product, it is in no position to claim that consumers will benefit from it

swallowing up Cigna’s superior product.”).

               3. Meta’s Final WhatsApp Justification is Unrelated to Improving Competition

       Meta’s tenth and final justification has numerous deficiencies, but it can most simply be

dismissed as not even attempting to articulate a procompetitive benefit at all, much less with

respect to the U.S. market for PSN services. Meta’s final WhatsApp claim asserts a justification

of improving Meta’s “strategic positioning against Apple and Google.” CS ¶ 2619. This

proposed justification is not legally cognizable because it is not procompetitive: a monopolist’s

effort to improve its “strategic positioning” to maintain its monopoly cannot “enhance rather

than hinder competition.” See Anthem, 855 F.3d at 354. While Meta may desire to improve its

strategic positioning against other firms, “[m]aintaining a monopoly is not the type of valid

business reason that will excuse exclusionary conduct.” LePage’s, 324 F.3d at 164; see also

Microsoft, 253 F.3d at, 67 (conduct not justified where “Microsoft failed to meet its burden of

showing that its conduct serves a purpose other than protecting its operating system monopoly”).

                                         CONCLUSION

       For the reasons set forth above, the Court should deny Meta’s motion for summary

judgment and grant the FTC’s motion for partial summary judgment.



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Dated:     May 24, 2024             Respectfully submitted,

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